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     Before Stormy Daniels, her attorney faced allegations of dubious business
     dealings at Tully’s Coffee
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     Originally published April 7, 2018 at 2:20 pm Updated April 7, 2018 at 3:20 pm



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     1 of 3 Michael Avenatti, lawyer for Stormy Daniels. (Richard Drew/The Associated Press)




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     Michael Avenatti has become a cable news celebrity for accusing Donald Trump of trying to silence his porn-star
     client, but his involvement with Tully’s Coffee has been a source of legal headaches.

            By Lewis Kamb        -
            Seattle Times staff reporter


     He’s become famous as the brash lawyer for the porn star who purportedly bedded the future president, but before Michael
     Avenatti accused Donald Trump and his attorney of a payoff scheme to muzzle Stormy Daniels, he faced allegations of
     dubious business dealings as owner of a flailing coffee chain.

     Since his investment firm bought bankrupt Tully’s Coffee for $9.15 million at auction five years ago, Avenatti’s company
     has been named in more than 50 state and federal legal complaints, including commercial lawsuits, breach of lease actions
     and warrants for unpaid taxes, court records show.




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     All the while, Tully’s has shuttered store after store — from Everett to Bellevue, Tacoma to Seattle, and beyond — with
     employees left in limbo, landlords left unpaid and customers left holding now seemingly worthless loyalty cards.

     And late last month, the list of grievances against Avenatti only intensified, with new allegations of wrongdoing.


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     In a complaint submitted to the California State Bar Association — and cc’d to the U.S. Attorney’s Office in Seattle —
     Bellevue attorney David Nold asserts Avenatti carried out an illegal “pump and dump” scheme through his Washington
     state-registered Tully’s ownership firm, Global Baristas US, LLC.

     Nold’s complaint contends that while Avenatti ran the company, he fleeced nearly $6 million in federal and state tax
     withholdings — money meant to be held in trust for payment of quarterly taxes — from the paychecks of Tully’s employees.

     The complaint also claims Avenatti fraudulently transferred $100,000 from the Tully’s operation last year to retain lawyers
     for his California law firm’s unrelated bankruptcy.

     “Michael Avenatti’s actions in connection with Global Baristas US, LLC have caused significant damage to the State of
     Washington, the federal government and numerous private entities,” according to Nold, who represents Bellevue Square,
     Ellenos yogurt and other clients who have recently sued the Tully’s firm. “And they implicate his fitness to practice law.”

     Officials for the California bar won’t say whether they’re investigating.

     Avenatti, 47, an aggressive class-action litigator based in Newport Beach, California, declined to be interviewed. In an
     email, he generally disputed the allegations and attacked Nold’s character.
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     “Mr. Nold is widely known as an unethical ‘hack’ of a lawyer who routinely files baseless complaints,” Avenatti’s email
     said. “He is a disgrace to the legal profession and is consumed by jealousy of other attorneys so he makes baseless
     allegations. His most recent conduct is yet more of the same — I hope he gets the help he needs.”

     Avenatti provided no evidence for his attack against Nold, who has no record of disciplinary actions or ethical violations,
     according to the Washington State Bar website.



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                             Delivered bright and early weekday mornings, this email provides a quick overview of top stories
                             and need-to-know news.
     Nold brushed off the comment. “He’s mad because we wouldn’t be bullied,” he said.

     Avenatti’s email also did not address questions about Tully’s.

     “You will have to ask your questions to the new ownership group who long ago took on responsibility for various tax
     liabilities etc.,” he wrote, declining to specify who those owners are or when he divested his stake.

     In various court filings and testimony last year, Avenatti described himself as the principal or chairman of the Tully’s
     chain. During a July deposition, he testified his law firm wholly owned Doppio Inc., a Delaware corporation that he said
     controlled 80 percent of Tully’s ownership firm, Global Baristas US.




     Current state corporate registration records also list only Avenatti among “governing persons” for the similarly named
     Global Baristas, LLC, which is registered as the controlling party for Global Baristas US.

     Robert Sifuentez, 35, who worked for Tully’s for nine years until the store he managed in Seattle’s Virginia Mason Medical
     Center closed last month, said Avenatti’s “name was the only name on my paycheck … up until we closed.”

     When the last few Tully’s stores closed in March, company spokeswoman Suzy Quinn described the moves as temporary
     under a long-term “rebranding process.”

     But internal memos detailed an unplanned crisis after the coffee supplier for Tully’s cut it off. And in a federal lawsuit filed
     in January, Vermont-based coffee conglomerate Keurig Green Mountain — which actually owns the Tully’s trade name —
     claimed Global Baristas failed to pay $500,000 in licensing fees for the past two years. The suit contends Global Baristas
     had to stop using the Tully’s name.

     Meanwhile, Tully’s stores have been evicted from several locations, including its corporate offices on Western Avenue,
     court records show.

     Partner sued




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     Global Baristas’ purchase of the Tully’s chain drew controversy from the start. In August 2013, less than two months after
     the deal closed, Avenatti’s business partner sued him, claiming misrepresentation.




     That partner, actor Patrick Dempsey of TV’s “Grey’s Anatomy,” contended in his suit Avenatti told him Global Baristas had
     enough money to operate the more than 40 Tully’s stores. But Dempsey, the suit claims, soon discovered Avenatti secretly
     had taken out a $2 million loan with an exorbitant 15 percent interest rate, pledging all Tully’s assets as security, the suit
     claimed. Avenatti quickly settled, and Dempsey walked away from the venture.

     The case proved a harbinger of legal actions to come, including a battle against Nold’s client, Bellevue Square. For years,
     the shopping mall’s owner, Kemper Development, leased spaces for Tully’s stores in the Lincoln Square, Bellevue Place
     and Bellevue Square shopping centers.

     After Kemper Development opted not to renew leases for Tully’s stores in Lincoln Square and Bellevue Place, Global
     Baristas vacated the Bellevue Square store amid a 10-year lease and a costly remodel.

     In 2015, Bellevue Square and B-Squared Construction each sued, both claiming Global Baristas broke the lease and hadn’t
     paid for remodeling work done at its space in the mall.

     Avenatti disputed both lawsuits. He claimed his firm didn’t pay the contractor due to unspecified construction defects, and
     contended Global Baristas only agreed to a re-up at Bellevue Square after Kemper Development assured it would renew
     Tully’s leases at its two other shopping centers. Such promises weren’t included in the lease agreement, but Avenatti
     claimed they were described in emails between him and his underlings.

     But when a court ordered Global Baristas to produce the emails, Avenatti failed to do so. Last year, a judge granted default
     judgments in favor of Bellevue Square and imposed sanctions and fines against Global Baristas, ordering it to also cover
     Bellevue Square’s legal bills.




     While Nold pursued collecting more than $1 million from Global Baristas last year, he learned Avenatti’s private law firm
     was in bankruptcy proceedings.

     In March, arbitration on a former law partner’s claim that Avenatti’s firm owed him $14 million was about to start when a
     mysterious creditor filed an involuntary Chapter 11 petition against the law firm for $28,700 in unpaid services, according
     to court filings. The petition plunged Avenatti’s firm into bankruptcy proceedings, postponing the arbitration.

     A federal bankruptcy judge later commented the case had a “stench of impropriety,” and the mystery creditor was never
     located. Avenatti later transferred $100,000 from Global Baristas to retain a Florida law firm to handle the bankruptcy,
     court records show.




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     After Nold argued the transfer was fraudulent due to Global Baristas’ obligations to his client, the Florida attorneys
     returned Avenatti’s check, records show.

     Nold’s firm soon began tracking down Global Barista’s bank accounts to garnish for debts owed to Bellevue Square.

     Turn for the worse
     By last fall, daily operations at Tully’s stores took a noticeable turn for the worse, according to three former employees
     interviewed for this story.

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     Alki Bakery, Ellenos yogurt, Dillanos coffee and other vendors weren’t consistently getting paid, they said, and deliveries
     became sporadic.

     Global Baristas also wasn’t keeping up with state and federal taxes, court records show. For years, the company lagged in
     paying quarterly taxes, leading Washington’s Revenue and Labor and Industries departments to repeatedly file warrants
     against it. Global Baristas often took months to make good on its delinquent tax debts.

     As of last week, more than $1 million of court-filed warrants for unpaid state taxes remained unresolved. The IRS also filed
     liens in July and August against Global Baristas and Avenatti for more than $5 million in unpaid taxes dating back to 2015.
     No releases have since been filed showing that debt was paid.

     In September, when Boeing announced a dozen Tully’s stores in its facilities around Puget Sound would close, the
     company issued a statement that business had “never been stronger.”

     But lawsuits claiming unpaid rents mounted over the next few months. Among those winning default judgments was
     Eisenhower Carlson, a Tacoma law firm that represented Tully’s in its dispute with Bellevue Square. The firm received a
     $93,000 judgment against its former client.

     Global Baristas often hasn’t responded to recent legal actions against it, records show.




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     “We have found Michael Avenatti not to be an easy person to deal with,” noted Matthew Green, a Seattle lawyer who
     represents three Tully’s landlords.

     After Green won default judgments and orders to evict Tully’s from its corporate office on Western Avenue and a downtown
     Seattle store, his clients sought to recoup some of the debts by auctioning off equipment left behind.

     Shortly before a sheriff’s auction was set to occur, Avenatti filed claims the property didn’t belong to Global Baristas, the
     subject of the judgment, but to another LLC, Global Baristas US. The move delayed the auctions, Green said, forcing him to
     seek judgments against both LLCs.




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     Avenatti made a similar claim when Bellevue Square sought to auction off left behind items there, Nold said.

     “He tries to use the LLCs to confuse everybody,” said Nold. “Only he was telling me exactly the opposite — that his other
     LLC owned the equipment.”

     Several lawyers for clients with judgments against Global Baristas said they don’t expect to collect a dime. But Nold has
     been relentless, collecting more than $1 million against Avenatti.

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     “We would garnish Key Bank, then he would move the money to a different bank, then to another,” Nold said. “But it
     didn’t matter, we were finding it. He finally got tired, and just paid us.”

     Avenatti is now appealing the Bellevue Square case to Washington’s Court of Appeals.

     Outside Washington, Global Baristas faces several other thorny legal disputes. Last week, Daytona International Speedway
     filed papers in a federal court in Florida seeking confirmation of a $760,000 arbitration award against Global Baristas
     related to an undisclosed contract breach.

     Unused credit on loyalty cards may seem piddling by comparison, but some longtime Tully’s customers say they’re upset.
     Nancy Nordstrand said she and her husband each recently made deposits on their cards to get a 20 percent bonus offered at
     their local Tully’s. Now, with that store closed, the couple is out $187, she said.

     “The irritation for me is they could’ve stopped those promotions if they thought they were going down,” said Nordstrand,
     who complained to the state attorney general after her calls to Tully’s corporate went unanswered.

     Despite such Tully’s turmoil, Avenatti’s fame is only burgeoning.

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     The attorney, whose website boasts of more than $1 billion in verdicts and settlements won for clients, has become a fixture
     on cable TV, thanks to his latest high-profile case.

     Sifuentez, the former Tully’s employee, said he can’t help but see the irony.

     “He’s getting all this positive press for the Stormy Daniels thing, but at the same time, this (expletive) just cost hundreds of
     people their jobs,” he said.



     Seattle Times business editor Rami Grunbaum and news researcher Miyoko Wolf contributed to this report. It contains
     material from newspaper’s archive. Lewis Kamb: lkamb@seattletimes.com or (206) 464-2932. Twitter @lewiskamb




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        settlement funds from the Settling Party and so they could use Mr. Barela ' s funds for their own

    2   purposes.

    3          4.        Pursuant to the terms of the actual settlement agreement, and at the express

    4   direction of A venatti, the Settling Party made the -     settlement payment • • • • • • • •

    5           on January 5, 2018 to a client trust account specified by Avenatti. (Exs. 5, 6.) This -

    6           payment was not reported-and still has never been reported-to Mr. Barela despite

    7   Defendants' receipt of the settlement payment on January 5, 2018. (Ex. 7.)

    8          5.        Beginning on March 10, 2018, the date Mr. Barela had been falsely informed by

    9   Defendants that the • • • • settlement payment was due, and for the next eight months, Mr.

   10   Barela made numerous inquiries of Defendants asking for a status update on the Settling Party' s

   11                        settlement payment. Yet despite having received the -        settlement payment

   12   of· · · · on January 5, 2018, Defendants told Mr. Barela that the Settling Party had not

   13   made the · · · · settlement payment and that they were working to obtain it. To date,

   14   Defendants have refused to admit that on January 5, 2018, the Settl ing Party made the     •••I
   15           settlement payment into the client trust account specified by A venatti.

   16          6.        Defendants kept Mr. Barela' s settlement funds despite knowing that Plaintiffs

   17   were counting on those funds to pay their expenses and that the failure to disburse the settlement

   18   proceeds to Mr. Barela was causing Plaintiffs great financial and personal hardship. Rather than

   19   paying Mr. Barela the amounts he was owed, A venatti made Mr. Barela plead with him for

   20   advances against the • • • • • • • settlement payment that A venatti repeatedly and falsely

   21   represented to Mr. Barela had not been made by Settling Party. Thus, between April and

   22   November 2018, Avenatti acted like he was doing Plaintiffs a huge favor by "advancing"

   23               to Plaintiffs to pay their expenses despite the fact that Defendants had received the -

   24           payment from the Settling Party and the money A venatti was advancing to Plaintiffs was

   25   only a fraction of the amount Defendants had received and owed to Mr. Barela in the first place.

   26          7.        Even worse, in October 2018, Avenatti informed Mr. Barela that he would no

   27   longer advance Plaintiffs any funds , but that he could arrange for Mr. Barela to get a • • •

   28   loan in January 2019, but that the Joan wou Id have to be with interest. On information and belief,
                                                            3
                                                STATEMENT OF CLAIMS
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     l   the • • • "loan" that Avenatti offered to procure for Mr. Barela was actually going to be

     2   made by Avenatti with the proceeds of the              settlement payment that was · · · · ·

     3   • • • • • • • • • • • • , but that Plaintiffs had been falsely informed by Defendants

     4   was not due until March 10, 2019.

     5          8.      After having been deceived by Avenatti and Defendants for eleven months, Mr.

     6   Barela retained new counsel and by letter dated November 17, 2018, requested an accounting

     7   from Avenatti, Eagan Avenatti, LLP, and Avenatti & Associates regarding any payment made by

     8   the Settling Party and a written copy of his fee agreement. (Ex. l 0.) Specifically, the letter from

     9   Mr. Barela 's new counsel stated:

    10          We understand that Mr. Barela has been advised by you that [Settling Party] did

    11          not make the initial • • • • payment due under the terms of the Settlement

    12          Agreement. We request that [sic] you provide written confirmation of [Settling

    13          Party's] failure to make such payment. We further ask that you promptly provide

    14          us with a true and correct copy of the Settlement Agreement and any fee

    15          agreement that you have with Mr. Barela.

    16          Finally, in the event [Settling Party] made the • • • • • • • payment

    17          provided for by the Settlement Agreement, we ask that you provide an immediate

    18          accounting concerning such funds.

   19           9.      By separate letter dated November 19, 2018, Mr. Barela directed Avenatti, Eagan

   20    Avenatti, LLP, and Avenatti & Associates to transfer his client files and the balance of any funds

   21    paid by Settling Party pursuant to the settlement agreement to the client trust account of his new

   22    attorneys. (Ex. 11.)

   23           10.     Mr. Barela reiterated these requests in a letter dated December 3, 2018. (Ex. 13.)

   24    To date, Defendants have not responded to Mr. Barela 's request for an accounting, and have

   25    refused to provide a copy of his fee agreement, transfer his files to his new counsel or to transfer

   26    the balance of any funds paid by Settling Party pursuant to the settlement agreement to the client

   27    trust account of his new attorneys.

   28
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                                               STATEMENT OF CLAIMS
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     1   another lawsuit would need to be filed in order to force Settling Pai1y to make the settlement

     2   payments.

     3          42.     Given that Mr. Bru·ela had relied on receiving his po11ion of the · · · · · · ·

     4   payment by March 2018 he was facing a dire financial situation. On April 2, 2018 Mr. Barela

     5   emailed Avenatti asking for a loan. Mr. Bai·ela was in the early stages of setting up two

     6   businesses and Mr. Barela told Avenatti that he was "out of pocket about 250k right now for both

     7   businesses." Later that day Mr. Barela asked Avenatti via text message whether there was any

     8   word from the Settling Party regarding the settlement payment. In a phone call, Avenatti

     9   reiterated that he had spoken with counsel for Settling Party and that counsel for Settling Pa11y

    10   did not understand why the Settling Paify had not responded to his requests for payment.

    11   Avenatti assured Mr. Barela on the call that he and the other Defendants were working to make

    12   sure Settling Party would make the settlement payment as soon as possible. Avenatti also agreed

    13   to provide an advance of money to Mr. Barela while Defendants were purpo11edly seeking

    14   payment from the Settling Pa1fy. After the call, Mr. Barela texted Avenatti, "Thanks again for the

    15   call. Whatever you can do is so appreciated.' Avenatti responded: " All good No wonies."

    16          43 .        On April 3, 2018 , Mr. Bai·ela asked Avenatti whether he was able to advance him

    17   "any amount if at all?" Avenatti responded that he could "probably send a wire tllllw."

   18           44.     On April 5, 2018 , Mr. Barela emailed Avenatti his Bank information to make a

   19    wire transfer of            the money A venatti had agreed to advance Mr. Barela. Mr. Barela also

   20    stated that he would like to discuss his options for collections on the Settling Party. Sho11ly

   21    thereafter, Mr. Bai·ela received a wire transfer of

   22           45.     On April 15 2018, Mr. Bai·ela again inquired via email to Avenatti about the stah1s

   23    of the settlement money from the Settling Party. He also inquired about steps to take against the

   24    Settling Party if the money is not collected. He told Avenatti he needed a plan as soon as possible

   25    as he was facing financial difficulties. Once again, A venatti was careful to not respond in

   26    writing. Instead, during a telephone call, Avenatti assured Mr. Bru·ela that Defendants were filing

   27    ru1other claim against Settling Prufy in federal com1 in Los Angeles, and they were waiting for a

   28    response.
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                 62 .      On October 17, 2018, Mr. Barela again reached out to Avenatti expressing to him

     2   that he was in a financial hardship and asked for another advance. He again texted A venatti on

     3   October 19, 2018, asking him if he could borrow money. Avenatti again did not respond in

     4   writing.

     5           63.       On October 22, 2018 , Mr. Barela emailed Avenatti again stressing the financial

     6   troubles he was facing. He told Avenatti that he was working on trying to get a loan from a third-

     7   party creditor and was trying to use the settlement agreement to secure it. Mr. Barela again asked

     8   for an update on the payment and what the next action steps would be. He also asked for copies

     9   of all the paperwork related to the alleged filing against the Settling Party so that he could use it

    10   to secure a personal loan. A venatti never responded to the email.

    11              64.    On October 28, 2018 , Mr. Barela texted Avenatti again highlighting his dire

    12   financial situation. Once again, he asked A venatti to forward the documents that had been filed

    13   against the Settling Party so that he could use it to secure a personal loan. Avenatti did not

    14   respond.

    15              65 .   On October 29, 2018, Mr. Barela again reached out to Avenatti. Avenatti wrote

    16   back stating that he would call Mr. Barela shortly. Later that same day, because Mr. Barela had

    17   not heard back from Avenatti, Mr. Barela sent him another message. Avenatti wrote back in

    18   response: "Let's chat in the am. Working on a solution." Mr. Barela responded by again stressing

    19   his financial difficulties.

   20               66.    The following day, on October 30, 2018, Mr. Barela followed up with Avenatti to

   21    check in and asked ifthere was "any word." Avenatti responded in writing, stating that he was

   22    "making progress. "

   23               67 .   On October 31 , 2018, Mr. Barela sent wire information for an additional advance

   24    from Defendants. Defendants made an additional and final advance of $4,000 to Mr. Barela on

   25    November 5, 2018.

   26               68.    In early November 2018, Mr. Barela began searching for a creditor to loan him

   27    approximately                 in order to operate his business, using the settlement agreement and

   28    promise by the Settling Party to pay as collateral. After Avenatti heard of Mr. Barela' s search for
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                73.     In November 2018, Mr. Barela hired Larson O ' Brien, LLP to represent him in

     2   connection with his efforts to collect the proceeds due to him pursuant to the terms of the

     3   settlement agreement. On November 17, 2018, Mr. Barela's new counsel sent a letter to Avenatti

     4   asking him to (1) confirm any representations Avenatti made to Mr. Barela that the Settling Party

     5   had failed to make the • • • • • • • payment due under the settlement agreement; (2)

     6   promptly provide a true and correct copy of the settlement agreement and any fee arrangement

     7   between Avenatti and Mr. Barela; and (3) provide an immediate accounting in the event the

     8   Settling Party made the • • • • • • • payment provided for in the settlement agreement.

     9   (Ex. 10.)

    10          74.     Later that same day, Avenatti made multiple calls to Mr. Barela. Avenatti sent an

    11   email asking Mr. Barela to call Avenatti "ASAP. " Additionally, Avenatti sent a text message to

    12   Mr. Barela asking " What is this all about? Pis call me ASAP. " Avenatti never responded to new

    13   counsel ' s November 17, 2018 letter.

    14          75 .    On November 18, 2018, new counsel for Mr. Barela sent an email to Avenatti

    15   requesting that Avenatti stop attempting to communicate directly or indirectly with Mr. Barela

    16   and that all future communications be made through Mr. Barela' s new counsel. Counsel also

    17   requested that Avenatti and all of his current and prior firms preserve all documents and writings

    18   relating to this matter. Avenatti did not respond to the email.

    19          76.     On November 19, 2018, Mr. Barela sent an email to Avenatti requesting that he

   20    transfer all paper and electronic files to Larson O ' Brien LLP. Mr. Barela also request that

   21    Avenatti transfer the balance of any funds paid by Settling Party to Larson O ' Brien LLP . (Ex.

   22    11.) New counsel provided Avenatti with the wire transfer information. Avenatti did not respond

   23    to either communication.

   24           77.     At the request of Mr. Barela, on November 21 , 2018, the Settling Party provided

   25    Mr. Barela with a true and correct copy of the fully executed settlement agreement. (Exs. 2, 12.)

   26    The true and correct copy of the full y executed settlement agreement · · · · · · · ·

   27

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         - - - - - - - - · ·· (Ex. 2.)16
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                 98.     Plaintiffs reasonably relied on the Defendants' false and fraudulent

     2   misrepresentations. Plaintiffs ' reliance on Defendants representations regarding the settlement

     3   proceeds were substantial factors in causing their harm.

     4           99.     Accordingly, as a result of Defendants' fraudulent misrepresentation of material

     5   facts and misappropriation of funds , Plaintiffs have suffered harm. Moreover, because

     6   Defendants acted maliciously, fraudulently and oppressively within the meaning of those terms as

     7   set forth in California Civil Code Section 3294, Plaintiffs are entitled to recover punitive damages

     8   from Defendants.

     9                                    FOURTH CAUSE OF ACTION

    10                                    Fraud & Deceit - Concealment

    11                           (On Behalf of Plaintiffs Against All Defendants)

    12           100.    Plaintiffs re-allege and incorporate each allegation in Paragraphs 1 through 99 of

    13   this Complaint as though fully set forth herein.

    14           1O1.    At all times herein mention, Plaintiffs and Defendants were in a fiduciary

    15   relationship and Defendants failed to disclose to Plaintiffs that on January 5, 2018, the Settling

    16   Party made the • • • • • • • • • • • to the client trust account specified to the Settling

    17   Party by Avenatti despite their knowledge that the payment had been received . Defendants

    18   concealed-and continue to conceal-the fact that the payment was made and Plaintiffs were

    19   entitled to receive their funds . From the date the • • • • • • • settlement payment was

   20    made on January 5, 2018, Defendants repeatedly concealed the fact that the payment was made

   21    despite Plaintiffs repeated attempts and inquiries regarding the status of the payment.

   22            102.    Plaintiffs did not know that the Settling Party ever made payment and Defendants

   23    made numerous oral and written misrepresentations that the settlement agreement called for

   24    payment on March 10, 2018. Defendants continue to misrepresent that no payment was ever

   25    made.

   26            I 03.   Defendants ' misrepresentations were knowingly false. Defendants intended to

   27    deceive Plaintiffs by concealing the facts concerning the due date and fact of the settlement

    28   payment with malicious intent to defraud and deceive Plaintiffs.
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                104.      At all times herein mentioned, Plaintiffs were unaware that the above-mentioned

     2   misrepresentations were false. Had the material information been disclosed and had Plaintiffs

     3   known that payment was made by the Settling Party, Plaintiff would have reasonably behaved

     4   differently and would not have been forced to take advances from Defendants. Plaintiffs

     5   reasonably relied on Defendants deception and misrepresentations.

     6           105 .    Accordingly, as a result of Defendants' intentional and fraudulent

     7   misrepresentations of material facts , failure to disclose certain facts, and active concealment,

     8   Plaintiffs have been damaged and suffered injury. Moreover, because Defendants acted

     9   maliciously, fraudulently and oppressively within the meaning of those terms as set forth in

    10   California Civil Code Section 3293 , Plaintiffs are entitled to recover punitive damages from

    11   Defendants.

    12                                      FIFTH CAUSE OF ACTION

    13                                     Fraud & Deceit - False Promise

    14                   (On Behalf of Greg Barela Against Defendants Michael J. Avenatti,

    15                           Eagan Avenatti, LLP, and Avenatti & Associates)

    16           106.     Plaintiffs re-allege and incorporate each allegation in Paragraphs 1 through 105 of

    17   this Complaint as though fully set forth therein.

    18           107.     Defendants A venatti and/or Eagan A venatti induced Mr. Barela to enter into an

    19   engagement agreement wherein Mr. Barela agreed to Avenatti and Egan Avenatti ' s legal

   20    representation of Mr. Barela' s interests. (Ex. 1.) Avenatti and Eagan Avenatti were retained as

   21    counsel for Mr. Barela under the impression that they would act with candor and honesty and

   22    immediately make available any funds to which Mr. Barela was entitled. Mr. Barela would not

   23    have entered into such agreement had he known that Avenatti and/or Eagan Avenatti did not

   24    intend to perform this promise when it was made.

   25            108.     Defendants A venatti and Eagan A venatti made a promise that they would pay to

   26    Mr. Barela his portion of any funds received on his behalf in connection with his representation of

   27    Mr. Barela. Defendants Avenatti and Eagan Avenatti also promised that they would inform Mr.

   28    Barela of any funds received on his behalf from the Settling Party.
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                 I 09.   However, on information and belief, Defendants did not intend to perform this

     2   promise when it was made. Instead , Defendants intended to use any such money for their own

     3   personal use and gain.

    4            110.    This false promise regarding payment to Mr. Barela for any favorable judgment

     5   was material to Mr. Barela. Moreover, Mr. Barela relied on this promise in engaging Defendants

     6   to represent him in the dispute with the Settling Party.

     7           111.    Defendants have failed to perform this promise and instead have continually

     8   concealed the                payment from the Settling Party since it was received by them in

     9   January 2018. Defendants have failed to make Mr. Barela' s portion of the settlement payment

    10   funds available to him.

    11           112.    Accordingly, as a result of Defendants ' intentional and fraudulent

    12   misrepresentations and false promises, failure to disclose certain facts, and active concealment,

    13   Plaintiffs have been damaged and suffered injury. Moreover, because Defendants acted

    14   maliciously, fraudulently and oppressively within the meaning of those terms as set forth in

    15   California Civil Code Section 3293 , Plaintiffs are entitled to recover punitive damages from

    16   Defendants.

    17                                      SIXTH CAUSE OF ACTION

    18                                               Conversion

    19                             (On Behalf of Plaintiffs Against All Defendants)

   20            113.    Plaintiffs re-allege and incorporate each allegation in Paragraphs 1 through 112 of

   21    this Complaint as though fully set forth herein.

   22            114.    Pursuant to the terms of the settlement agreement, Plaintiffs were to be paid -

   23    • • from the Settling Party by· · · · ·· (Ex. 2.)

   24            115.    Defendants substantially interfered with Plaintiffs ' property by knowingly or

   25    intentionally preventing Plaintiffs from having access to their portion of the · · · · that was

   26    transferred to Defendants' client trust account on January 5, 2018. Defendants knowingly failed

   27    to inform Mr. Barela of his settlement payment and instead took steps to actively conceal that the

   28    money had been received. Moreover, on numerous occasions, Defendants misrepresented that
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                 121.    A valid contractual agreement existed between Plaintiff and Defendants since

     2   Plaintiff retained Defendants as counsel.

     3           122.    Plaintiff has performed all conditions required to be performed in accordance with

     4   the terms and conditions of the contract.

     5           123 .   As detailed in the previous paragraphs of this Complaint, commencing on or about

     6   December 28, 2017, Defendants and each of them have breached the terms of the engagement

     7   agreement by, among other things, falsifying the dates the settlement payments were due, failing

     8   to notify Plaintiffs of the receipt of settlement funds , misappropriating Plaintiffs ' settlement

     9   funds , making untruthful representations to Plaintiff, and failing to inform and timely respond to

    10   Plaintiffs communications.

    11           124.    As a direct and proximate result of Defendants ' conduct, Plaintiffs were harmed by

    12   Defendants' breach.

    13                                     EIGHTH CAUSE OF ACTION

    14      Unfair Business Practices Under Business and Professions Code Section 17200, et seq.

    15                            (On Behalf of Plaintiffs Against All Defendants)

    16           125.    Plaintiffs re-allege and incorporate each allegation in Paragraphs l through 124 of

    17   this Complaint as though fully set forth herein.

    18           126.    Plaintiffs allege that Defendants in doing the acts alleged hereinabove have

    19   engaged in unfair and or unlawful business practices-including but not limited to the fraudulent

   20    conduct and conversion detailed in the above paragraphs of this Complaint-and have thereby

   21    acquired money or property rightfully belonging to Plaintiffs by engaging in such unfair business

   22    practices, thereby inducing and causing Plaintiffs to suffer " injury in fact" and to lose money or

   23    property as a result of such unfair acts, in violation of the Act, including but not limited to ,

   24    Business & Professions Code section 17200.

   25            127.    As a direct and proximate result of the above-referenced acts of Defendants,

   26    Plaintiffs have sustained "injury in fact" and lost money or property as a result of such unfair acts

   27    and is therefore entitled to restitution of money lost as well as equitable relief in the fore of an

   28    order requiring Defendants, to show cause, why they should not be enjoined from continuing their
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         unlawful business practices during the pendency of this action, and for a temporary restraining

     2   order, a preliminary injunction, and a permanent injunction, all enjoining defendants from

     3   engaging in the unlawful business practices described herein.

     4                                     NINTH CAUSE OF ACTION

     5                                        Professional Negligence

     6                        (On Behalf of Greg Barela Against Michael Avenatti,

     7                          Eagan Avenatti, LLP, and Avenatti & Associates)

     8           128.   Plaintiffs re-allege and incorporate each allegation in Paragraphs l through 127 of

     9   this Complaint as though fully set forth herein.

    10          129.    Defendants have failed to provide competent representation on behalf of Mr.

    11   Barela. As Mr. Barela' s attorney representatives in his dispute with the Settling Party,

    12   Defendants owed a duty to Mr. Barela to use such skill and prudence as members of the

    13   profession commonly possess.

    14           130.   Throughout the course of their dealings with Mr. Barela, Defendants held

    15   themselves out as skilled attorneys, having superior knowledge regarding their ability to

    16   successfully recover payment from the Settling Party. Defendants intended that Plaintiff rely, and

    17   Plaintiff did rely, on Defendants alleged expertise and advice in connection with the

    18   representation of Mr. Barela.

    19           131.   Defendants, in the course of their representation of Mr. Barela, breached their

   20    duty, among other things, by misappropriating client funds , making numerous misrepresentations

   21    regarding the status of the funds, making numerous misrepresentations to Mr. Barela regarding

   22    the date of the payment under the terms of the settlement agreement, failing to timely respond to

   23    Mr. Barela, and misrepresenting to Mr. Barela the status of the settlement payment.

   24            132.   On information and belief, Defendants A venatti and Eagan Avenatti failed to

    25   adequately represent Plaintiff when negotiating the terms of the settlement agreement with the

    26   Settling Party. Plaintiff believes and alleges that the settlement terms should have been of a

    27   significantly greater value , but in order to obtain easy access to and misappropriate Plaintiffs

    28   settlement funds , Defendants A venatti and Eagan A venatti persuaded Mr. Barela to settle for a
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         lesser amount. On information and belief, Defendants Avenatti and Eagan Avenatti did not

     2   represent Plaintiff with the skill and prudence as members of the profession commonly possess.

     3           133.   Plaintiff is informed and believes, and on that basis alleges, that Defendants

     4   Avenatti and Eagan Avenatti failed to use the skill and care that a reasonably careful attorney

     5   would have used in similar circumstances.

     6           134.   As a direct and proximate cause of Defendants Avenatti and Eagan Avenatti' s

     7   negligence, Plaintiff has suffered damages.

     8                                     TENTH CAUSE OF ACTION

     9                                                 Accounting

    1O                           (On Behalf of Plaintiffs Against All Defendants)

    11           135.   Plaintiffs re-allege and incorporate each a llegation in Paragraphs 1 through 134 of

    12   this Complaint as though full y set forth herein.

    13           136.   As attorneys, Defendants represented Mr. Barela and owed him a fiduciary duty.

    14           137.    As described above, Mr. Barela is entitled to money that was received by

    15   Defendants on January 5, 2018 relating to the Settling Party's payment under the terms of the

    16   settlement agreement. Mr. Barela has not received from or been made aware of the monies

    17   received by Defendants. However, the Settling Party has provided Mr. Barela with confirmation

    18   that on January 5, 2018, the                                            was transferred via wire to

    19   Defendants' client trust account as specified by Avenatti on January 2, 2018.

   20            138.   Accordingly, a balance due from the Defendants to the Plaintiffs can only be

   21    ascertained by an accounting.

   22

   23

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                                               PRAYER FOR RELIEF

    2              WHEREFORE, Plaintiffs pray for judgment and relief as follows:



    4- .
    3



    5
                   1.



                   2.
                          For compensatory damages of an amount to be proven at trial, but exceeding



                          For general damages according to be proven at trial ;

    6              3.     For actual and/or special damages to be proven at trial;

    7              4.     For restitution of money lost;

    8              5.     For punitive and exemplary damages against Defendants in an amount to be

    9   determined at trial;

   10              6.     For costs of suit, reasonable attorneys ' fees as allowed by law, costs, expenses to

   11   Plaintiffs, and interest in an amount to be proven at trial;

   12              7.     For pre-judgment and post-judgment interest;

   13              8.     For a temporary restraining order, a preliminary injunction, and a permanent

   14   injunction, all enjoining defendants from engaging in the unlawful business practices described

   15   herein ;

   16              9.     Such other and further relief as the Arbitrator shall find just and proper.

   17

   18    Dated: January 14, 2019                              LARSON O' BRIEN LLP
   19

   20                                                              ~~~
                                                              By: _ _ _ _ _ _ _ _ _ __
   21                                                             Stephen G. Larson
                                                                  Steven E. Bledsoe
   22                                                             R.C. Harlan
   23
                                                              Attorneys for Plaintiffs
   24                                                         GREG BARELA and TALITHA BARELA

   25

   26
   27

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    CASE INFORMATION

    Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed | Proceedings Held


    Case Number: BC590516
    JENNIFER NADJAT-HAIEM VS MATTHEW JOSEPH ALHADEFF

    Filing Courthouse: Stanley Mosk Courthouse

    Filing Date: 08/10/2015
    Case Type: Motor Vehicle - Personal Injury/Property Damage/Wrongful Death (General Jurisdiction)
    Status: Dismissed - Other 09/25/2017


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    FUTURE HEARINGS

    Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed | Proceedings Held

    None


    PARTY INFORMATION

    Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed | Proceedings Held


    ALHADEFF MATTHEW - Defendant

    ALHADEFF MATTHEW - Defendant

    ALHADEFF MATTHEW JOSEPH - Defendant

    EAGAN O'MALLEY & AVENATTI - Attorney for Plaintiff

    EAGAN O'MALLEY & AVENATTI - Attorney for Plaintiff

    KULUVA ARMIJO & GARCIA - Attorney for Defendant

    KULUVA ARMIJO & GARCIA - Attorney for Defendant

    LEWIS BRISBOIS BISGAARD & SMITH LLP - Attorney for Defendant

    LEWIS BRISBOIS BISGAARD & SMITH LLP - Attorney for Defendant

    MARCHINO FILIPPO - Attorney for Plaintiff

    MARCHINO FILIPPO - Attorney for Plaintiff

    NADJAT-HAIEM JENNIFER - Plaintiff

    NADJAT-HAIEM JENNIFER - Plaintiff

    TYSON & MENDES AND BRAGG & KULUVA - Attorney for Defendant

    TYSON ROBERT F. - Attorney for Defendant

    TYSON ROBERT F. - Attorney for Defendant

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    TYSON ROBERT F. JR. ESQ. - Attorney for Defendant #:1640



    Documents Filed

    Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed | Proceedings Held

    Documents Filed (Filing dates listed in descending order)

    Click on any of the below link(s) to see Register of Action Items on or before the date indicated:
    08/02/2017 05/11/2017 02/16/2017 11/09/2016

    09/28/2017 Notice of Ruling
    Filed by Defendant

    09/28/2017 Notice of Ruling (AND OSC RE DISMISSAL )
    Filed by Attorney for Defendant

    09/25/2017 Request for Dismissal
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    09/25/2017 Request for Dismissal (WITH PREJUDICE AS TO ENTIRE ACTION OF ALL PARTIES AND ALL CAUSES OF
    ACTION )
    Filed by Attorney for Plaintiff

    09/20/2017 Stipulation and Order
    Filed by MATTHEW ALHADEFF (Defendant)

    09/20/2017 Stipulation and Order (STIPULATION TO TAKE MSC AND OSC RE: CONTEMPT AND SANCTIONS OFF
    CALENDAR PENDING FINAL SETTLEMENT AND ORDER, IS SIGNED AND FILED THIS DATE. )
    Filed by Attorney for Defendant

    09/15/2017 Notice
    Filed by MATTHEW ALHADEFF (Defendant)

    09/15/2017 Notice (OF WITHDRAWAL AND TAKING OFF CALENDAR DEFENDANT'S NOTICE OF MOTION TO COMPEL
    FURTHER RESPONSES TO DEFENDANT'S REQUESTS FOR PRODUCTION OF DOCUMENTS (SET TWO) AND FOR
    MONETARY SANCIONS)
    Filed by Attorney for Defendant

    09/14/2017 Notice
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    09/14/2017 Notice (OF TAKING MOTIONS OFF CALENDAR WITHOUT PREJUDICE )
    Filed by Attorney for Plaintiff

    09/11/2017 Declaration
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    09/11/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    09/11/2017 Response
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    09/11/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    09/11/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    09/11/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    09/11/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)


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    09/11/2017 Opposition                    #:1641
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    09/11/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    09/11/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    09/11/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    09/11/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    09/11/2017 Opposition
    Filed by ROBERT F. TYSON (Attorney)

    09/11/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    09/11/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    09/11/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    09/11/2017 Declaration (SUPPLEMENTAL OMNIBUS DECLARATION OF AHMED IBRAHIM IN SUPPORT OF
    PLAINTIFF'S OPPOSITIONS TO DEFENDANT MOTIONS IN LIMINE NOS. 1-8 )
    Filed by Attorney for Plaintiff

    09/11/2017 Opposition (TO DEFENDANT'S MOTION IN LIMINE NO.8 TO EXCLUDE EVIDENCE OF ANY PRIOR
    ARRESTS OR CONVICTIONS )
    Filed by Attorney for Plaintiff

    09/11/2017 Response (TO DEFENDANT'S MOTION IN LIMINE NO.7 TO PRECLUDE THE ADMISSION OF EVIDENCE OF
    PROFITS OR FINANCIAL CONDITION UNLESS AND UNTIL THE TRIER OF FACT MAKES A FINDING OF MALICE,
    OPPRESSION, OR FRAUD)
    Filed by Attorney for Plaintiff

    09/11/2017 Opposition (TO DEFENDANT'S MOTION IN LIMINE NO.6 TO PRECLUDE PLAINTIFF FROM MENTIONING
    ANY ACTUAL OR POTENTIAL DOLLAR AMOUNT OF DAMAGES IN THIS OR ANY OTHER HYPOTHETICAL CASE
    TO THE JURY DURING VOIR DIRE)
    Filed by Attorney for Plaintiff

    09/11/2017 Opposition (TO DEFENDANT'S MOTION IN LIMINE NO.5 TO EXCLUDE EVIDENCE OR ARGUMENT THAT
    DEFENDANT EXERCISED HIS FIFTH AMENDMENT RIGHT AGAINST SELF-INCRIMINATION )
    Filed by Attorney for Plaintiff

    09/11/2017 Opposition (TO DEFENDANT'S MOTION IN LIMINE NO.4 TO EXCLUDE EVIDENCE OR ARGUMENT
    CONCERNING POST-ACCIDENT TEXT MESSAGES FROM DEFENDANT )
    Filed by Attorney for Plaintiff

    09/11/2017 Opposition (TO DEFENDANT'S MOTION IN LIMINE NO.3 TO EXCLUDE EVIDENCE OR ARGUMENT
    CONCERNING DEFENDANT'S MEDICAL RECORDS )
    Filed by Attorney for Plaintiff

    09/11/2017 Opposition (TO DEFENDANT'S MOTION IN LIMINE NO.2 TO EXCLUDE EVIDENCE OF MEDICAL EXPENSES
    IN EXCESS OF THE LESSER OF AMOUNTS ACTUALLY PAID OR ACCEPTED AS PAID, OR THE REASONABLE VALUE
    OF SERVICES PROVI)
    Filed by Attorney for Plaintiff

    09/11/2017 Opposition (TO DEFENDANT'S MOTION IN LIMINE NO.1 TO EXCLUDE "GOLDEN RULE" AND "REPTILE
    THEORY" ARGUMENTS AT TRIAL )
    Filed by Attorney for Plaintiff

    09/11/2017 Opposition (TO MOTION IN LIMINE NO.5 TO PRECLUDE DUPLICATIVE EXPERT OPINIONS )
    Filed by Attorney for Defendant

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    09/11/2017 Opposition (TO MOTION IN LIMINE NO.4 TO PRECLUDE EVIDENCE REGARDING DEFENDANT'S INJURIES
                                                           #:1642
    )
    Filed by Attorney for Defendant

    09/11/2017 Opposition (TO MOTION IN LIMINE NO.3 TO PRECLUDE EVIDENCE REGARDING PLAINTIFF'S RECEIPT OF
    COLLATERAL SOURCE BENEFITS )
    Filed by Attorney for Defendant

    09/11/2017 Opposition (TO MOTION IN LIMINE NO.2 TO PRECLUDE EVIDENCE REGARDING DEFENDANT'S
    INABILITY TO PAY PUNITIVE DAMAGES OR THE ABSENCE OF EVIDENCE OF DEFENDANT'S FINANCIAL
    CONDITION)
    Filed by Attorney for Defendant

    09/11/2017 Opposition (TO MOTION IN LIMINE NO.1 TO PRECLUDE EVIDENCE REGARDING PLAINTIFF'S WEALTH
    OR FINANCIAL RESOURCES )
    Filed by Attorney for Defendant

    09/11/2017 Opposition (TO MOTION TO COMPEL FURTHER RESPONSES TO SPECIAL INTERROGATORIES SET TWO )
    Filed by Attorney for Defendant

    09/11/2017 Opposition (TO MOTION TO COMPEL FURTHER RESPONSES TO REQUEST FOR PRODUCTION OF
    DOCUMENTS SET THREE )
    Filed by Attorney for Defendant

    09/01/2017 Proof of Service (not Summons and Complaint)
    Filed by MATTHEW ALHADEFF (Defendant)

    09/01/2017 Proof of Service
    Filed by Attorney for Defendant

    08/31/2017 Amended Proof of Service
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/31/2017 Amended Proof of Service
    Filed by Attorney for Plaintiff

    08/30/2017 Motion in Limine
    Filed by MATTHEW ALHADEFF (Defendant)

    08/30/2017 Motion in Limine
    Filed by MATTHEW ALHADEFF (Defendant)

    08/30/2017 Motion in Limine
    Filed by MATTHEW ALHADEFF (Defendant)

    08/30/2017 Motion in Limine
    Filed by MATTHEW ALHADEFF (Defendant)

    08/30/2017 Motion in Limine
    Filed by MATTHEW ALHADEFF (Defendant)

    08/30/2017 Motion in Limine
    Filed by MATTHEW ALHADEFF (Defendant)

    08/30/2017 Motion in Limine
    Filed by MATTHEW ALHADEFF (Defendant)

    08/30/2017 Motion in Limine
    Filed by MATTHEW ALHADEFF (Defendant)

    08/30/2017 Declaration
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/30/2017 Motion in Limine
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/30/2017 Motion in Limine
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)


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    08/30/2017 Motion in Limine              #:1643
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/30/2017 Motion in Limine
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/30/2017 Motion in Limine
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/30/2017 Motion in Limine (NO.8 TO EXCLUDE EVIDENCE OF ANY PRIOR ARRESTS OR CONVICTIONS;
    DECLARATION OF KARA PAPE )
    Filed by Attorney for Defendant

    08/30/2017 Motion in Limine (NO.7 TO PRECLUDE THE ADMISSION OF EVIDENCE OF PROFITS OR FINANCIAL
    CONDITION UNLESS AND UNTIL THE TRIER OF FACT MAKES A FINDING OF MALICE, OPPRESSION, OR FRAUD )
    Filed by Attorney for Defendant

    08/30/2017 Motion in Limine (NO.6 TO PRECLUDE PLAINTIFF FROM MENTIONING ANY ACTUAL OR POTENTIAL
    DOLLAR AMOUNT OF DAMAGES IN THIS OR ANY OTHER HYPOTHETICAL CASE TO THE JURY DURING VOIR
    DIRE; DECLARATION OF KARA PAPE)
    Filed by Attorney for Defendant

    08/30/2017 Motion in Limine (NO.5 TO EXCLUDE EVIDENCE OR ARGUMENT THAT DEFENDANT EXERCISED HIS
    FIFTH AMENDMENT RIGHT AGAINST SELF-INCRIMINATION; DECLARATION OF KARA PAPE )
    Filed by Attorney for Defendant

    08/30/2017 Motion in Limine (NO.4 TO EXCLUDE EVIDENCE OR ARGUMENT CONCERNING POST-ACCIDENT TEXT
    MESSAGES FROM DEFENDANT; DECLARATION OF KARA PAPE )
    Filed by Attorney for Defendant

    08/30/2017 Motion in Limine (NO.3 TO EXCLUDE EVIDENCE OR ARGUMENT CONCERNING DEFENDANT'S MEDICAL
    RECORDS; DECLARATION OF KARA PAPE )
    Filed by Attorney for Defendant

    08/30/2017 Motion in Limine (NO.2 TO EXCLUDE EVIDENCE OF MEDICAL EXPENSES IN EXCESS OF THE LESSER OF
    AMOUNTS ACTUALLY PAID OR ACCEPTED AS PAID, OR THE REASONABLE VALUE OF SERVICES PROVIDED;
    DECLARATION OF KARA PAPE)
    Filed by Attorney for Defendant

    08/30/2017 Motion in Limine (NO.1 TO EXCLUDE "GOLDEN RULE" AND "REPTILE THEORY" ARGUMENTS AT TRIAL;
    DECLARATION OF KARA PAPE )
    Filed by Attorney for Defendant

    08/30/2017 Declaration (OMNIBUS DECLARATION OF AHMED IBRAHIM IN SUPPORT OF PLAINTIFF'S MOTIONS IN
    LIMINE NOS. 1-5 )
    Filed by Attorney for Plaintiff

    08/30/2017 Motion in Limine (NO.5 TO PRECLUDE DEFENDANT FROM OFFERING DUPLICATIVE EXPERT OPINIONS )
    Filed by Attorney for Plaintiff

    08/30/2017 Motion in Limine (NO.4 TO PRECLUDE DEFENDANT FROM OFFERING ANY EVIDENCE REGARDING
    DEFENDANT'S INJURIES )
    Filed by Attorney for Plaintiff

    08/30/2017 Motion in Limine (NO.3 TO PRECLUDE DEFENDANT FROM OFFERING ANY EVIDENCE OR ARGUMENT
    ABOUT PLAINTIFF'S RECEIPT OF COLLATERAL SOURCE BENEFITS )
    Filed by Attorney for Plaintiff

    08/30/2017 Motion in Limine (NO.2 TO PRECLUDE DEFENDANT FROM OFFERING ANY EVIDENCE OR ARGUMENT
    REGARDING DEFENDANT'S ALLEGED INABILITY TO PAY ANY PUNITIVE DAMAGES AWARD OR THE ABSENCE OF
    EVIDENCE OF DEFENDANT'S FINANCIAL)
    Filed by Attorney for Plaintiff

    08/30/2017 Motion in Limine (NO.1 TO PRECLUDE DEFENDANT FROM OFFERING ANY EVIDENCE REGARDING
    PLAINTIFF'S OR PLAINTIFF'S FAMILY WEALTH AND/OR FINANCIAL RESOURCES )
    Filed by Attorney for Plaintiff



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    08/29/2017 Notice of Ruling              #:1644
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/29/2017 Notice of Ruling
    Filed by Attorney for Plaintiff

    08/28/2017 Ex-Parte Application
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/28/2017 Stipulation and Order to use Certified Shorthand Reporter
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/28/2017 Ex-Parte Application
    Filed by Attorney for Plaintiff

    08/28/2017 Stip & Order-use CSR (BRITTANY KEPLER #13970 )
    Filed by Attorney for Plaintiff

    08/22/2017 Notice Re: Continuance of Hearing and Order
    Filed by Plaintiff

    08/22/2017 Notice of Continuance (NOTICE OF CONTINUANCE OF ORDER TO SHOW CAUSE RE CONTEMPT AND
    SANCTIONS AND MSC TO 9/21/17 )
    Filed by Attorney for Plaintiff

    08/21/2017 Ex-Parte Application
    Filed by MATTHEW ALHADEFF (Defendant)

    08/21/2017 Ex-Parte Application (DEFENDANT, MATTHEW ALHADEFF'S EX PARTE APPLICATION RE MOTION TO
    QUASH OR RECALL BENCH WARRANT )
    Filed by Attorney for Defendant

    08/18/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    08/18/2017 Opposition (DEFENDANT MATTHEW JOSEPH ALHADEFF'S OPPOSITION TO PLAINTIFF'S BRIEF
    REGARDING THE IMPOSITION OF SANCTIONS - ON: 8/25/17 AT 9:30 AM IN DEPARTMENT WE-R.)
    Filed by Attorney for Defendant

    08/17/2017 Statement - General
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/17/2017 Notice of Motion
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/17/2017 Statement - General
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/17/2017 Notice of Motion
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/17/2017 Statement - General (SEPARATE STATEMENT OF DISPUTED ITEMS ON MOTION TO COMPEL FURTHER
    RESPONSES FROM DEFENDANT MATTHEW JOSEPH ALHADEFF TO REQUEST FOR PRODUCTION (SET THREE)
    AND FOR MONETARY SANCTIONS IN THE AMOUNT)
    Filed by Attorney for Plaintiff

    08/17/2017 Notice of Motion (AND MOTION TO COMPEL FURTHER RESPONSES FROM DEFENDANT MATTHEW
    JOSEPH ALHADEFF TO REQUEST FOR PRODUCTION (SET THREE) AND FOR MONETARY SANCTIONS IN THE
    AMOUNT OF $3,260 AGAINST DEFENDANT)
    Filed by Attorney for Plaintiff

    08/17/2017 Statement - General (SEPARATE STATEMENT OF DISPUTED ITEMS ON MOTION TO COMPEL FURTHER
    REPSONSES FROM DEFENDANT MATTHEW JOSEPH ALHADEFF TO SPECIAL INTERROGATORIES (SET TWO) AND
    FOR MONETARY SANCTIONS IN THE AMOUNT)
    Filed by Attorney for Plaintiff

    08/17/2017 Notice of Motion (AND MOTION TO COMPEL FURTHER RESPONSES FROM DEFENDANT MATTHEW JOSEP
    ALHADEFF TO SPECIAL INTERROGATORIES (SET TWO) AND FOR MONETARY SANCTIONS IN THE AMOUNT OF

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    $5,260 AGAINST DEFENDANT)              #:1645
    Filed by Attorney for Plaintiff

    08/14/2017 Notice
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/14/2017 Notice (NOTICE OF WITHDRAWAL AND TAKING OFF CALENDAR PLTFS MOTION TO QUASH
    DEPOSITION SUBPOENAS )
    Filed by Attorney for Plaintiff

    08/11/2017 Brief (name extension)
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/11/2017 Brief (PLAINTIFF'S BRIEF REGARDING THE INPOSITION OF SANCTIONS AGAINST DEFENDANT
    MATTHEW JOSEPH ALHADEFF - SEEKING MONETARY AND TERMINATING SANCTIONS; DECLARATION OF
    DAMON ROGERS - 8/25/17 9:30 AM DEPT "R".)
    Filed by Attorney for Plaintiff

    08/08/2017 Order Appointing Court Approved Reporter as Official Reporter Pro Tempore
    Filed by MATTHEW ALHADEFF (Defendant)

    08/08/2017 Ord-Appt Apprv Rptr as Rptr protem (NAREN JOHNSON #3827 )
    Filed by Attorney for Defendant

    08/07/2017 Notice of Ruling
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/07/2017 Notice of Ruling
    Filed by Attorney for Plaintiff

    08/04/2017 Order
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/04/2017 Order (ORDER APPOINTING COURT APPROVED REPORTER: DANA SHELLEY, CSR #10177 AS OFFICIAL
    REPORTER PRO TEMPORE, IS SIGNED AND FILED THIS DATE. )
    Filed by Attorney for Plaintiff

    Click on any of the below link(s) to see Register of Action Items on or before the date indicated:
    TOP 08/02/2017 05/11/2017 02/16/2017 11/09/2016

    08/02/2017 Miscellaneous-Other
    Filed by MATTHEW ALHADEFF (Defendant)

    08/02/2017 Notice of Motion
    Filed by MATTHEW ALHADEFF (Defendant)

    08/02/2017 Brief (name extension)
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/02/2017 Miscellaneous-Other (SEPARATE STATEMENT )
    Filed by Attorney for Defendant

    08/02/2017 Notice of Motion (AND MOTION TO COMPEL )
    Filed by Attorney for Defendant

    08/02/2017 Brief (PLAINTIFF'S SUBMISSION IN ADVANCE OF THE ORDER TO SHOW CAUSE RE: CONTEMPT AND
    SANCTIONS AGAINST DEFENDANT MATTHEW JOSEPH ALHADEFF; DECLARATION OF DAMON ROGERS - HRG:
    8/4/17 AT 9:30 AM IN DEPT WE-R.)
    Filed by Attorney for Plaintiff

    08/01/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/01/2017 Reply to Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    08/01/2017 Reply to Opposition
    Filed by MATTHEW ALHADEFF (Defendant)


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    08/01/2017 Opposition (TO DEFENDANT'S MOTION FOR PROTECTIVE
                                                        #:1646 ORDER AND REQUEST FOR SANCTIONS
    AGAINST PLAINTIFFS COUNSEL IN THE AMOUNT OF $2,260. )
    Filed by Attorney for Plaintiff

    08/01/2017 Reply to Opposition (TO DEFENDANT'S MOTION FOR RELIEF UNDEER CCP 473(B) )
    Filed by Attorney for Defendant

    08/01/2017 Reply to Opposition (TO DEFENDANT'S MOTION FOR ORDER REQUIRING PLAINTIFF AND HER COUNSEL
    TO RETURN MEDICAL RECORDS RECEIVED FROM CEDARS SINAI MEDICAL CENTER; )
    Filed by Attorney for Defendant

    07/26/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    07/26/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    07/26/2017 Answer to First Amended Complaint
    Filed by MATTHEW ALHADEFF (Defendant)

    07/26/2017 Opposition (TO MOTION FOR ORDER )
    Filed by Attorney for Plaintiff

    07/26/2017 Opposition (TO MOTION FOR RELIEF )
    Filed by Attorney for Plaintiff

    07/26/2017 Answer to First Amended Complaint (BEHALF OF: MATTHEW JOSEPH ALHADEFF )
    Filed by Attorney for Defendant

    07/21/2017 Opposition
    Filed by Defendant

    07/21/2017 Ex-Parte Application
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    07/21/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    07/21/2017 Ex-Parte Application
    Filed by MATTHEW ALHADEFF (Defendant)

    07/21/2017 Stipulation and Order to use Certified Shorthand Reporter
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    07/21/2017 Opposition
    Filed by Attorney for Defendant

    07/21/2017 Ex-Parte Application
    Filed by Attorney for Plaintiff

    07/21/2017 Opposition
    Filed by Attorney for Plaintiff

    07/21/2017 Ex-Parte Application
    Filed by Attorney for Defendant

    07/21/2017 Stip & Order-use CSR (DAYNA HESTER #9970 )
    Filed by Attorney for Plaintiff

    07/20/2017 Notice Re: Continuance of Hearing and Order
    Filed by Clerk

    07/20/2017 NOTICE OF CONTINUANCE
    Filed by Clerk

    07/19/2017 Notice of Motion
    Filed by MATTHEW ALHADEFF (Defendant)



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    07/19/2017 Notice of Motion (AND MOTION FOR PROTECTIVE#:1647
                                                           ORDER; REQUEST FOR SANCTIONS AGAINST
    PLAINTIFF'S COUNSEL IN THE AMOUNT OF $2,260; MEMORANDUM OF POINTS AND AUTHORITIES;
    DECLARATION OF CHRISTINA Y. MOROVATI; (PROPOSED))
    Filed by Attorney for Defendant

    07/17/2017 Association of Attorney
    Filed by MATTHEW ALHADEFF (Defendant)

    07/17/2017 Notice of Association of Attorneys
    Filed by Attorney for Defendant

    07/14/2017 Notice of Motion
    Filed by MATTHEW ALHADEFF (Defendant)

    07/14/2017 Notice of Motion
    Filed by MATTHEW ALHADEFF (Defendant)

    07/14/2017 Notice of Motion (AND MOTION FOR RELIEF UNDER CODE OF CIVIL PROCEDURE 473 (B) FOR AUGUST 8,
    2017; DECLARATION OF CHRISTINA Y. MOROVATI; DECLARATION OF ROBERT F. TYSON, JR (PROPOSED) ORDER)
    Filed by Attorney for Defendant

    07/14/2017 Notice of Motion (AND MOTION FOR ORDER REQUIRING PLAINTIFF AND HER COUNSEL TO RETURN ALL
    COPIES OF DEFENDANT'S MEDICAL RECORDS RECEIVED FROM CEDARS SINAI MEDICAL CENTER;
    MEMORANDUM OF POINTS AND AUTHORITI)
    Filed by Attorney for Defendant

    07/06/2017 Notice of Ruling
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    07/06/2017 Notice of Ruling
    Filed by Attorney for Plaintiff

    06/30/2017 Order Appointing Court Approved Reporter as Official Reporter Pro Tempore
    Filed by MATTHEW ALHADEFF (Defendant)

    06/30/2017 Stipulation and Order
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    06/30/2017 Ord-Appt Apprv Rptr as Rptr protem (CYNTHIA LAMB #8349 )
    Filed by Attorney for Defendant

    06/30/2017 Stipulation and Order (STIPULATION AND ORDER TO USE CERTIFIED SHORTHAND REPORTER: AMANDA
    R. TEIDEL, CSR #13129, IS SIGNED AND FILED THIS DATE. )
    Filed by Attorney for Plaintiff

    06/29/2017 Response
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    06/29/2017 Response (PLAINTIFF'S RESPONSE TO DEFENDANT'S OPPOSITION TO ORDER TO SHOW CAUSE;
    DECLARATION OF DAMON ROGERS - 6/30/17 AT 9:30 AM IN DEPARTMENT WE-R.)
    Filed by Attorney for Plaintiff

    06/28/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    06/28/2017 Declaration
    Filed by MATTHEW ALHADEFF (Defendant)

    06/28/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    06/28/2017 Declaration
    Filed by MATTHEW ALHADEFF (Defendant)

    06/28/2017 Opposition (OPPOSITION TO ORDER TO SHOW CAUSE )
    Filed by Attorney for Defendant

    06/28/2017 Declaration (DECLARATION OF CHRISTINA Y. MOROVATI RE: ORDER TO SHOW CAUSE RE: SANCTIONS
    AND CONTEMPT AGAINST MATTHEW JOSEPH ALHADEFF )
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    Filed by Attorney for Defendant           #:1648
    06/28/2017 Opposition (OPPOSITION TO ORDER TO SHOW CAUSE, IS FILED ON BEHALF OF DEFENDANT MATTHEW
    ALHADEFF, BY SPECIALLY APPEARING ATTORNEY CHRISTINA Y. MOROVATI, IS FILED THIS DATE.)
    Filed by Attorney for Defendant

    06/28/2017 Declaration (DECLARATION OF CRISTINA Y. MOROVATI RE: ORDER TO SHOW CAUSE RE: SANCTIONS
    AND CONTEMPT AGAINST MATTHEW JOSEPH ALHADEFF, IS FILED THIS DATE.)
    Filed by Attorney for Defendant

    06/23/2017 Notice of Lodging
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    06/23/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    06/23/2017 Reply to Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    06/23/2017 Reply to Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    06/23/2017 Reply to Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    06/23/2017 Opposition (SUPPLEMENTAL OPPOSITION TO DEFENDANT'S MOTION FOR SUMMARY JUDGMENT AFTER
    CONDUCTING DEPOSITION OF EZRI NAMVAR; DECLARATION )
    Filed by Attorney for Plaintiff

    06/23/2017 Reply to Opposition (TO MOTION FOR PROTECTIVE ORDER TERMINATING DEFENDANT'S DEPOSITION OR
    IN THE ALTERNATIVE FOR APPOINTMENT OF DISCOVERY REFEREE; REQUEST FOR SANCTIONS AGAINST
    MICHAEL J. AVENATTI AND THE FIRM)
    Filed by Attorney for Defendant

    06/23/2017 Reply to Opposition (FOR ORDER TO STAY ENTIRE ACTION UNTIL MAY 19, 2018 TO ALLOW DEFENDANT'S
    FIFTH AMENDMENT RIGHTS TO BE PRESERVED )
    Filed by Attorney for Defendant

    06/23/2017 Reply to Opposition (TO MOTION TO STRIKE PORTIONS OF PLAINTIFF'S FIRST AMENDED COMPLAINT )
    Filed by Attorney for Defendant

    06/23/2017 Notice of Lodging (CERTIFIED DEPOSITION TRANSCRIPT OF MATTHEW J. ALHADEFF: (1) IN SUPPORT OF
    PLAINTIFF'S MOTION TO COMPEL DEFENDANT MATTHEW ALHADEFF TO COMPLY WITH COURT'S DECEMBER 30,
    2016 ORDER, FOR AN ORDER)
    Filed by Attorney for Plaintiff

    06/19/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    06/19/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    06/19/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    06/19/2017 Opposition (TO DEFENDANT'S MOTION TO STAY ENTIRE ACTION UNTIL MAY 19, 2018; DECLARATION OF
    DAMON ROGERS IN OPPOSITION )
    Filed by Attorney for Plaintiff

    06/19/2017 Opposition (TO DEFENDANT'S MOTION FOR PROTECTIVE ORDER TERMINATING DEFENDANT'S
    DEPOSITION OR IN THE ALTERNATIVE FOR APPOINTMENT OF DISCOVERY REFEREE AND REQUEST FOR
    SANCTIONS AGAINST MICHAEL J. AVENA)
    Filed by Attorney for Plaintiff

    06/19/2017 Opposition (TO DEFENDANT'S MOTION TO STRIKE PORTIONS OF PLAINTIFF'S FIRST AMENDED
    COMPLAINT; DECLARATION OF DAMON ROGERS IN OPPOSITION )
    Filed by Attorney for Plaintiff


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    Filed by Court

    06/16/2017 Order
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    06/16/2017 Order to Show Cause (ORDER TO SHOW CAUSE RE: SANCTIONS AND CONTEMPT AGAINST DEFENDANT
    MATTHEW JOSEPH ALHADEFF, FOR DEFTS FTA AT MSC ON 6/16/17; A BENCH WARRANT IS ISSUED & HELD UNITL
    6/30/17; BAIL SET: $150,000.00)
    Filed by Court

    06/16/2017 Order (ORDER APPOINTING COURT APPROVED REPORTER: NANCY K. BRINK, CSR #6501, AS OFFICIAL
    REPORTER PRO TEMPORE, IS SIGNED AND FILED THIS DATE. )
    Filed by Attorney for Plaintiff

    06/02/2017 Notice of Ruling
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    06/02/2017 Notice of Ruling
    Filed by Attorney for Plaintiff

    06/01/2017 Order
    Filed by MATTHEW ALHADEFF (Defendant)

    06/01/2017 ExParte Application
    Filed by MATTHEW ALHADEFF (Defendant)

    06/01/2017 Order (ORDER APPOINTING COURT APPROVED REPORTER: JOSIANE B. GOLDMAN AS OFFICIAL
    REPORTER PRO TEMPORE, IS SIGNED AND FILED THIS DATE. )
    Filed by Attorney for Defendant

    06/01/2017 ExParte Application (DEFT MATTHEW ALHADEFF'S EXPARTE APPLICATION FOR AN ORDER FOR RELIEF
    FROM THE COURT'S ORDER REQUIRING DEFT TO BE PHYSICALLY PRESENT AT THE MSC ON 6/16/17; DECL OF
    CHRISTINA Y. MOROVATI.)
    Filed by Attorney for Defendant

    05/26/2017 Notice of Trial
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    05/26/2017 Notice of Trial (PURSUANT TO SECTION 594 OF THE CODE OF CIVIL PROCEDURE )
    Filed by Attorney for Plaintiff

    05/24/2017 Objection Document Filed
    Filed by MATTHEW ALHADEFF (Defendant)

    05/24/2017 Objection Document Filed (TO NOTICE TO APPEAR AT TRIAL )
    Filed by Attorney for Defendant

    05/18/2017 Notice of Ruling
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    05/18/2017 Notice of Ruling
    Filed by Attorney for Plaintiff

    Click on any of the below link(s) to see Register of Action Items on or before the date indicated:
    TOP 08/02/2017 05/11/2017 02/16/2017 11/09/2016

    05/11/2017 Statement - General
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    05/11/2017 Notice of Motion
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    05/11/2017 Notice of Ruling
    Filed by MATTHEW ALHADEFF (Defendant)

    05/11/2017 Statement - General (SEPARATE STATEMENT OF ITEMS IN DISPUTE ON MOTION TO QUASH DEPOSITION
    SUBPOENAS SEEKING PRODUCTION OF BUSINESS RECORDS FROM (1) LA FITNESS-WESTWOOD; (2) ART


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2/12/2019 Case                                LASC - Filed
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                                                            02/12/19 Page 62 of 133 Page ID
    INSTITUTE OF CALIFORNIA -)             #:1650
    Filed by Attorney for Plaintiff

    05/11/2017 Notice of Motion (AND MOTION TO QUASH DEPOSITION SUBPOENAS SEEKING PRODUCTION OF
    BUSINESS RECORDS FROM (1) LA FITNESS- WESTWOOD; (2) ART INSTITUTE OF CALIFORNIA- LOS ANGELES; (3)
    SANTA MONICA COLL)
    Filed by Attorney for Plaintiff

    05/11/2017 Notice of Ruling
    Filed by Attorney for Defendant

    05/03/2017 Stipulation and Order to use Certified Shorthand Reporter
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    05/03/2017 Stip & Order-use CSR (AMANDA TEIDEL #13129 )
    Filed by Attorney for Plaintiff

    05/01/2017 Notice
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    05/01/2017 Notice (OF TAKING CERTAIN MOTIONS OFF CALENDAR WITHOUT PREJUDICE )
    Filed by Attorney for Plaintiff

    04/27/2017 Order-Protective
    Filed by MATTHEW ALHADEFF (Defendant)

    04/27/2017 Order-Protective (REGARDING CONFIDENTIAL AUDIOTAPE OF EXAMINATION; )
    Filed by Attorney for Defendant

    04/26/2017 Reply to Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    04/26/2017 Reply to Opposition (TO PLAINTIFF'S MOTION FOR FINANCIAL DISCOVERY TO SUPPORT PLAINTIFF'S
    PUNITIVE DAMAGES CLAIM DECLARATION OF DAMON ROGERS IN OPPOSITION )
    Filed by Attorney for Plaintiff

    04/24/2017 Order Appointing Court Approved Reporter as Official Reporter Pro Tempore
    Filed by MATTHEW ALHADEFF (Defendant)

    04/24/2017 Ord-Appt Apprv Rptr as Rptr protem (NANCY K. BRINK #6501 )
    Filed by Attorney for Defendant

    04/20/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    04/20/2017 Opposition (TO PLAINTIFF'S MOTION FOR FINANCIAL DISCOVERY TO SUPPORT PLAINTIFF'S PUNITIVE
    DAMAGES CLAIM DECLARATION OF CHRISTINA Y. MOROVATI; (PROPOSED) ORDER )
    Filed by Attorney for Defendant

    04/18/2017 Order Appointing Court Approved Reporter as Official Reporter Pro Tempore
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    04/18/2017 Order Appointing Court Approved Reporter as Official Reporter Pro Tempore
    Filed by MATTHEW ALHADEFF (Defendant)

    04/18/2017 Ord-Appt Apprv Rptr as Rptr protem (JENNIFER SMITH #13577 )
    Filed by Attorney for Plaintiff

    04/18/2017 Ord-Appt Apprv Rptr as Rptr protem (NANCY K. BRINK #6501 )
    Filed by Attorney for Defendant

    04/17/2017 Reply to Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    04/17/2017 Reply to Opposition (TO DEFENDANT'S MOTION TO COMPEL PLAINTIFF'S COMPLIANCE WITH COURT
    ORDERED MENTAL EXAMINATION WITH DR. KYLE BOONE AND REQUEST FOR SANCTIONS IN THE AMOUNT OF
    $6,440.00)
    Filed by Attorney for Defendant


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2/12/2019 Case                                  LASC - Filed
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    04/11/2017 Declaration                   #:1651
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    04/11/2017 Notice of Motion
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    04/11/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    04/11/2017 Reply to Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    04/11/2017 Declaration (OF BEAU LEBLANC )
    Filed by Attorney for Plaintiff

    04/11/2017 Notice of Motion (FOR FINANCIAL DISCOVERY )
    Filed by Attorney for Plaintiff

    04/11/2017 Opposition (TO MTN TO COMPEL )
    Filed by Attorney for Plaintiff

    04/11/2017 Reply to Opposition (TO MTN TO COMPEL )
    Filed by Attorney for Plaintiff

    04/05/2017 Response
    Filed by MATTHEW ALHADEFF (Defendant)

    04/05/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    04/05/2017 Notice of Lodging
    Filed by MATTHEW ALHADEFF (Defendant)

    04/05/2017 Notice of Motion
    Filed by MATTHEW ALHADEFF (Defendant)

    04/05/2017 Response (TO SEPARATE STATEMENT OF DISPUTED ITEMS IN SUPPORT OF OPPOSITION TO MOTION TO
    COMPEL DEFENDANT TO COMPLY WITH THE COURT'S DECEMBER 30, 2016 ORDER, FOR AN ORDER COMPELLING
    DEFENDANT TO COMPLETE)
    Filed by Attorney for Defendant

    04/05/2017 Opposition (TO MOTION TO COMPEL DEFENDANT TO COMPLY WITH THE COURT'S DECEMBER 30, 2016
    ORDER, FOR AND ORDER COMPELLING DEFENDANT TO COMPLETE HIS COURT-ORDERED DEPOSITION AND FOR
    AN ORDER COMPELLING ANSWERS)
    Filed by Attorney for Defendant

    04/05/2017 Notice of Lodging (OF DEPOSITION TRANSCRIPT OF MATTHEW JOSEPH ALHADEFF IN SUPPORT OF
    DEFENDANT, MATTHEW JOSEPH ALHADEFF'S OPPOSITION TO MOTION TO COMPEL DEFENDANT TO COMPLY
    WITH THE COURT'S DECEMBER 30, 2016)
    Filed by Attorney for Defendant

    04/05/2017 Notice of Motion (AND MOTION FOR PROTECTIVE ORDER TERMINATING DEFENDANT'S DEPOSITION OR
    IN THE ALTERNATIVE FOR APPOINTMENT OF A DISCOVERY REFEREE; REQUEST FOR SANCTIONS AGAINST
    MICHAEL J. AVENATTI AND)
    Filed by Attorney for Defendant

    03/30/2017 Motion to Compel
    Filed by MATTHEW ALHADEFF (Defendant)

    03/30/2017 Amended Notice
    Filed by MATTHEW ALHADEFF (Defendant)

    03/30/2017 Motion to Compel (COMPLLIANCE WITH COURT ORDERED MENTAL EXAMINATION WITH DR. KYLE
    BOONE )
    Filed by Attorney for Defendant

    03/30/2017 Amended Notice (RE MTN TO STRIKE )
    Filed by Attorney for Defendant

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    03/24/2017 Statement - General           #:1652
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    03/24/2017 Notice of Motion
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    03/24/2017 Statement - General (SEPARATE STATEMENT OF DISPUTED ITEMS ON MOTION TO COMPEL DEFENDANT
    MATTHEW ALHADEFF TO COMPLY WITH COURT'S DECEMBER 30, 2016 ORDER, FOR AN ORDER COMPELLING
    DEFENDANT TO COMPLETE)
    Filed by Attorney for Plaintiff

    03/24/2017 Notice of Motion (AND MOTION TO COMPEL DEFENDANT MATTHEW ALHADEFF TO COMPLY WITH THE
    COURT'S DECEMBER 30, 2016 ORDER, FOR AN ORDER COMPELLING DEFENDANT TO COMPLETE HIS COURT-
    ORDERED DEPOSITION AND FOR AN)
    Filed by Attorney for Plaintiff

    03/23/2017 Motion to Strike
    Filed by MATTHEW ALHADEFF (Defendant)

    03/23/2017 Motion to Strike (PORTIONS OF FIRST AMENDED COMPLAINT )
    Filed by Attorney for Defendant

    03/13/2017 Order Appointing Court Approved Reporter as Official Reporter Pro Tempore
    Filed by MATTHEW ALHADEFF (Defendant)

    03/13/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    03/13/2017 Ex-Parte Application
    Filed by MATTHEW ALHADEFF (Defendant)

    03/13/2017 Ord-Appt Apprv Rptr as Rptr protem (NANCY BRINK CSR 6501 )
    Filed by Attorney for Defendant

    03/13/2017 Opposition (TO DEFENDANT'S EX PARTE APPLIC,. )
    Filed by Attorney for Plaintiff

    03/13/2017 Ex-Parte Application (FOR AN ORDER TO COMPEL PLTF'S COMPLIANCE WITH COURT ORDERED MENTAL
    EXAMINATION WITH DR. KYLE BOONE; MEMO OF POINTS AND AUTH.' DECL. OF CHRISTINA V. MOROVATI AND
    DR. KYLY BOONE)
    Filed by Attorney for Defendant

    03/08/2017 Notice of Ruling
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    03/08/2017 Notice of Ruling
    Filed by Attorney for Plaintiff

    03/02/2017 First Amended Complaint
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    03/02/2017 First Amended Complaint (NO SUMMONS ISSUED )
    Filed by Attorney for Plaintiff

    03/01/2017 Order
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    03/01/2017 Order Appointing Court Approved Reporter as Official Reporter Pro Tempore
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    03/01/2017 Order (ON PLAINTIFF'S MOTION FOR LEAVE TO FILE A FIRST AMENDED COMPLAINT; )
    Filed by Attorney for Plaintiff

    03/01/2017 Ord-Appt Apprv Rptr as Rptr protem (WIL C. WILCOX #9178 )
    Filed by Attorney for Plaintiff

    02/24/2017 Ex-Parte Application
    Filed by MATTHEW ALHADEFF (Defendant)


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    02/24/2017 Ex-Parte Application          #:1653
    Filed by Attorney for Defendant

    02/21/2017 Reply to Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    02/21/2017 Reply to Opposition (TO MTN FOR LEAVE TO FILE A FAC )
    Filed by Attorney for Plaintiff

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    02/16/2017 Reply to Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    02/16/2017 Reply to Opposition (TO MTN TO COMPEL FURTHER RESPONSES )
    Filed by Attorney for Plaintiff

    02/15/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    02/15/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    02/15/2017 Opposition (TO DEFENDANT MATTHEW JOSEPH ALHADEFF'S MOTION TO COMPEL PLAINTIFF JENNIFER
    NADJAT-HAIEM TO SUBMIT TO EXAMINATION WITH DR. KYLE BOONE, PH.D. AND REQUEST FOR SANCTIONS;
    DECLARATION OF)
    Filed by Attorney for Plaintiff

    02/15/2017 Opposition (TO DEFENDANT MATTHEW JOSEPH ALHADEFF'S MOTION TO COMPEL PLAINTIFF JENNIFER
    NADJAT-HAIEM'S ATTENDANCE AT DEPOSITION AND FOR MONETARY SANCTIONS; DECLARATION OF DAMON
    ROGERS IN OPPOSITION)
    Filed by Attorney for Plaintiff

    02/14/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    02/14/2017 Opposition (TO MTN FOR LEAVE TO FILE FAC )
    Filed by Attorney for Defendant

    02/10/2017 Motion to Compel
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    02/10/2017 Statement - General
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    02/10/2017 Motion to Compel (FURTHER RESPONSES )
    Filed by Attorney for Plaintiff

    02/10/2017 Statement - General (SEPARATE STATEMENT OF DISPUTED ITEMS )
    Filed by Attorney for Plaintiff

    02/09/2017 Motion to Compel
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    02/09/2017 Separate Statement of Und. Facts
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    02/09/2017 Motion to Compel (RESPONSES TO REQUESTS FOR PROD. SET TWO AND FOR SANCTIONS )
    Filed by Attorney for Plaintiff

    02/09/2017 Separate Statement of Und. Facts
    Filed by Attorney for Plaintiff

    02/02/2017 Notice of Motion
    Filed by MATTHEW ALHADEFF (Defendant)

    02/02/2017 Notice of Motion
    Filed by MATTHEW ALHADEFF (Defendant)

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    02/02/2017 Notice of Motion              #:1654
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    02/02/2017 Notice of Motion (AND MOTION TO COMPEL PLAINTIFF JENNIFER NADJAT-HAIEM'S ATTENDANCE AT
    DEPOSITION AND FOR MONETARY SANCTIONS; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION
    OF CHRISTINA Y. MOROVATI; PP ORDER)
    Filed by Attorney for Defendant

    02/02/2017 Notice of Motion (AND MOTION TO COMPEL PLAINTIFF JENNIFER NADJAT-HAIEM TO SUBMIT TO
    EXAMINATION WITH DR. KYLE BOONE, PH.D AND REQUEST FOR SANCTIONS; MEMORANDUM OF POINTS AND
    AUTHORITIES IN SUPPORT OF;)
    Filed by Attorney for Defendant

    02/02/2017 Notice of Motion (AND MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT; MEMORANDUM OF
    POINTS AND AUTHORITIES; DECLARATION OF DAMON ROGERS )
    Filed by Attorney for Plaintiff

    01/31/2017 Amended Notice
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    01/31/2017 Amended Notice (2ND AMENDED NTC RE MTN TO COMPEL )
    Filed by Attorney for Plaintiff

    01/18/2017 Notice
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    01/18/2017 Notice (NOTICE TO DEFENDANT MATTHEW JOSEPH ALHADEFF TO APPEAR AT TRIAL 9-25-17 9:00 AM
    DEPT M )
    Filed by Attorney for Plaintiff

    01/12/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    01/12/2017 Ex-Parte Application
    Filed by MATTHEW ALHADEFF (Defendant)

    01/12/2017 Opposition
    Filed by Attorney for Plaintiff

    01/12/2017 Ex-Parte Application
    Filed by Attorney for Defendant

    12/30/2016 Order Appointing Court Approved Reporter as Official Reporter Pro Tempore
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    12/30/2016 Ord-Appt Apprv Rptr as Rptr protem (CHERI BULLOCK #4714 )
    Filed by Attorney for Plaintiff

    12/21/2016 Reply to Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    12/21/2016 Reply to Opposition (TO MTN FOR PROTECTIVE ORDER )
    Filed by Attorney for Defendant

    12/14/2016 Notice of Ruling
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    12/14/2016 Notice of Ruling
    Filed by Attorney for Plaintiff

    12/13/2016 Order Appointing Court Approved Reporter as Official Reporter Pro Tempore
    Filed by MATTHEW ALHADEFF (Defendant)

    12/13/2016 Ord-Appt Apprv Rptr as Rptr protem (JENNY ROSENSTEIN #3160 )
    Filed by Attorney for Defendant

    12/08/2016 Notice Re: Continuance of Hearing and Order
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)


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    12/08/2016 NOTICE OF CONTINUANCE         #:1655
    Filed by Attorney for Plaintiff

    12/06/2016 Reply
    Filed by MATTHEW ALHADEFF (Defendant)

    12/06/2016 Reply (IN SUPPORT OF MOTION TO COMPEL PLAINTIFF JENNIFER NADJATHAIEM TO SUBMIT TO
    INDEPENDENT MEDICAL EXAMINATIONS )
    Filed by Attorney for Defendant

    11/29/2016 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    11/29/2016 Opposition (TO MTN TO COMPEL )
    Filed by Attorney for Plaintiff

    11/28/2016 Case Management Statement
    Filed by MATTHEW ALHADEFF (Defendant)

    11/28/2016 Case Management Statement
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    11/28/2016 Statement-Case Management
    Filed by Attorney for Defendant

    11/28/2016 Statement-Case Management
    Filed by Attorney for Plaintiff

    11/22/2016 Amended Notice
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    11/22/2016 Amended Notice
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    11/22/2016 Amended Notice (OF MOTION REGARDING PLAINTIFF JENNIFER NADJAT-HAIEM'S MOTION TO COMPEL
    DEFENDANT MATTHEW JOSEPH ALHADEFF TO PROVIDE FURTHER RESPONSES TO PLAINTIFF'S FORM
    INTERROGATORIES (SET ONE) AND SANC)
    Filed by Attorney for Plaintiff

    11/22/2016 Amended Notice (OF MOTION REGARDING PLAINTIFF JENNIFER NADJAT-HAIEM'S MOTION TO COMPEL
    FURTHER RESPONSES FROM DEFENDANT MATTHEW JOSEPH ALHADEFF TO PLAINTIFF'S REQUEST FOR
    PRODUCTION (SET ONE) AND FOR SANCT)
    Filed by Attorney for Plaintiff

    11/18/2016 Notice
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    11/18/2016 Notice of Ruling
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    11/18/2016 Ex-Parte Application
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    11/18/2016 Notice (NOTICE OF RESCHEDULING HEARING OF MOTION FOR PROTECTIVE ORDER 4-14-17 9:00 AM
    DEPT M )
    Filed by Attorney for Defendant

    11/18/2016 Notice of Ruling
    Filed by Attorney for Plaintiff

    11/18/2016 Ex-Parte Application
    Filed by Attorney for Plaintiff

    11/15/2016 Motion to Compel
    Filed by MATTHEW ALHADEFF (Defendant)

    11/15/2016 Motion to Compel
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)


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    11/15/2016 Motion to Compel (PLAINTIFF JENNIFER NADJAT-HAIEM
                                                           #:1656TO SUBMIT TO MULTIPLE INDEPENDENT
    MEDICAL EXAMINATIONS INCLUDING A NEUROLOFY EXAMINATION AND A NEUROPHYCHOLOGICAL
    EXAMINATION; )
    Filed by Attorney for Defendant

    11/15/2016 Motion to Compel
    Filed by Attorney for Plaintiff

    Click on any of the below link(s) to see Register of Action Items on or before the date indicated:
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    11/09/2016 Notice
    Filed by Clerk

    11/09/2016 Notice
    Filed by Clerk

    11/09/2016 Notice (NOTICE OF TRANSFER OF ACTION )
    Filed by Clerk

    10/05/2016 ORDER TRANSFERRING COMPLICATED PERSONAL INJURY (PI) CASE TO AN INDEPENDENT
    CALENDAR (IC) COURT

    10/05/2016 NOTICE OF RULING ON PLAINTIFF'S MOTION TO COMPEL DEFENDANT MATTHEW JOSEPH ALHADEFF
    TO COMPLY WITH DEPOSITION NOTICE AND FOR SANCTIONS AGAINST DEFENDANT MATTHEW JOSEPH
    ALHADEFF IN THE AMOUNT OF $3260

    10/05/2016 Minute Order

    10/05/2016 Notice of Ruling
    Filed by Plaintiff/Petitioner

    10/05/2016 Order
    Filed by Court

    10/03/2016 PLAINTIFF'S EVIDENTIARY OBJECTIONS TO THE DECLARATION OF CHRISTINE V. MOROVATI
    ATTACHED TO DEFENDANT'S MOTION FOR PROTECTIVE ORDER

    10/03/2016 PLAINTIFF'S OPPOSITION TO DEFENDANT MATTHEW JOSEPH ALHADEFF'S MOTION FOR PROTECTIVE
    ORDER; DECLARATION OF DAMON ROGERS IN OPPOSITION

    10/03/2016 Opposition Document
    Filed by Plaintiff/Petitioner

    10/03/2016 Objection
    Filed by Plaintiff/Petitioner

    09/28/2016 PLAINTIFF'S REPLY TO DEFENDANT MATTHEW JOSEPH ALHADEFF'S OPPOSITION TO PLAINTIFF'S
    MOTION TO COMPEL DEFENDANT TO COMPLY WITH DEPOSITION NOTICE AND FOR SANCTIONS AGAINST
    DEFENDANT IN THE AMOUNT OF $3,260

    09/28/2016 Reply to Opposition
    Filed by Plaintiff/Petitioner

    09/22/2016 OPPOSITION TO PLAINTIFF, JENNIFER NADJAT-HAIEM'S, MOTION TO COMPEL THE DEPOSITION OF
    DEFENDANT, MATTHEW ALHADEFF; ETC.

    09/22/2016 Opposition Document
    Filed by Matthew Joseph Alhadeff (Defendant)

    09/19/2016 Informal Discovery Conference Form for Personal Injury Courts
    Filed by Plaintiff/Petitioner

    09/12/2016 NOTICE OF MOTION AND MOTION FOR PROTECTIVE ORDER;ETC.

    09/12/2016 Notice of Motion
    Filed by Matthew Joseph Alhadeff (Defendant)



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    09/07/2016 NOTICE OF MOTION AND MOTION TO COMPEL #:1657
                                                     DEFENDANT MATTHEW JOSEPH ALHADEFF TO
    COMPLY WITH DEPOSITION NOTICE AND ETC.

    09/07/2016 Motion to Compel
    Filed by Plaintiff/Petitioner

    08/31/2016 Statement of Facts
    Filed by Plaintiff/Petitioner

    08/31/2016 Statement of Facts
    Filed by Michael J. Esq. Avenatti (Attorney)

    08/31/2016 Motion to Compel
    Filed by Plaintiff/Petitioner

    08/31/2016 Association of Attorney
    Filed by Matthew Joseph Alhadeff (Defendant)

    08/31/2016 PLAINTIFF JENNIFER NADJAT-HAIEM'S SEPARATE STATEMENT OF DISPUTED ITEMS ON MOTION TO
    COMPEL DEFENDANT ETC.

    08/31/2016 PLAINTIFF JENNIFER NADJATHAJEM'S NOTICE OF MOTION AND MOTION TO COMPEL DEFENDANT
    MATTHEW JOSEPH ALHADEFF TO PROVIDE FURTHER RESPONSES TO PLAINTIFF'S FORM INTERROGATORIES
    (SET ONE) AND FOR SANCTIONS IN THE AMOUNT OF $4,660.00 AGAINST DEFENDANT MATTHEW JOSE

    08/31/2016 PLAINTIFF JENNIFER NADJATHAIEM'S NOTICE OF MOTION AND MOTION TO COMPEL FURTHER
    RESPONSES FROM DEFENDANT MATTHEW JOSEPH ALHADEFF TO PLAINTIFF'S REQUESTS FOR PRODUCTION
    (SET ONE) AND FOR SANCTIONS IN THE AMOUNT OF $3.260.OO AGAINST DEFENDANT MATTHEW JOSEPH

    08/31/2016 PLAINTIFF JENNIFER NADJATHAIEM'S SEPARATE STATEMENT OF DISPUTED ITEMS ON MOTION TO
    COMPEL FURTHER RESPONSES FROM DEFENDANT MATTHEW JOSEPH ALHADEFF TO REQUESTS FOR
    PRODUCTION (SET ONE) AND FOR SANCTIONS IN THE AMOUNT OF $3,260.00 AGAINST DEFENDANT MATTHEW

    08/31/2016 NOTICE OF ASSOCIATION OF COUNSEL

    08/19/2016 INFORMAL DISCOVERY CONFERENCE FORM FOR PERSONAL INJURY COURTS (DEPARTMENT 91, 92, 93,
    97)

    08/16/2016 Substitution of Attorney
    Filed by Plaintiff/Petitioner

    08/16/2016 SUBSTITUTION OF ATTORNEY

    04/28/2016 Answer
    Filed by Matthew Joseph Alhadeff (Defendant)

    04/28/2016 DEFENDANT MATTHEW ALHADEFF'S ANSWER TO COMPLAINT

    04/15/2016 Receipt
    Filed by Plaintiff/Petitioner

    04/15/2016 CIVIL DEPOSIT

    04/13/2016 Notice
    Filed by Plaintiff/Petitioner

    04/11/2016 NOTICE OF ACKNOWLEDGEMENT OF RECEIPT - CIVIL

    01/20/2016 Motion
    Filed by MATTHEW ALHADEFF (Defendant)

    01/20/2016 Motion (FOR PROTECTIVE ORDER )
    Filed by Attorney for Defendant

    12/09/2015 NOTICE OF REJECTION APPLICATION AND ORDER FOR PUBLICATION

    12/04/2015 APPLICATION FOR PUBLICATION

    12/04/2015 Application for Order to Publish
    Filed by Plaintiff/Petitioner
https://www.lacourt.org/casesummary/ui/OSCasesummary.aspx#ROA                                          19/45
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    08/10/2015 SUMMONS                       #:1658
    08/10/2015 Complaint
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/10/2015 COMPLAINT FOR DAMAGES: I. NEGLIGENCE

    08/10/2015 Complaint Filed

    Click on any of the below link(s) to see Register of Action Items on or before the date indicated:
    TOP 08/02/2017 05/11/2017 02/16/2017 11/09/2016




    Proceedings Held

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    Proceedings Held (Proceeding dates listed in descending order)

    Click on any of the below link(s) to see Register of Action Items on or before the date indicated:
    06/30/2017 11/18/2016

    08/10/2018 at 08:30 AM in Department 97
    (OSC RE Dismissal; Transferred to different departmnt) -

    07/27/2018 at 09:00 AM in Department M
    Unknown Event Type - Not Held - Advanced and Vacated

    12/08/2017 at 09:00 AM in Department M
    Unknown Event Type - Not Held - Advanced and Vacated

    12/08/2017 at 09:00 AM in Department M
    Unknown Event Type - Not Held - Advanced and Vacated

    12/01/2017 at 09:00 AM in Department M
    Unknown Event Type - Not Held - Advanced and Vacated

    10/24/2017 at 08:30 AM in Department M
    Unknown Event Type - Not Held - Advanced and Vacated

    10/06/2017 at 08:30 AM in Department M
    (Motion to Compel; Advanced to this date & continued) -

    09/29/2017 at 09:00 AM in Department M
    Unknown Event Type - Not Held - Advanced and Vacated

    09/25/2017 at 09:00 AM in Department M
    Jury Trial - Not Held - Advanced and Vacated

    09/25/2017 at 09:00 am in Department WEM, Mitchell L. Beckloff, Presiding
    Jury Trial (5 DAYS) - Advanced to this date & Vacated

    09/22/2017 at 09:00 AM in Department M
    Final Status Conference (Final Status Conference; Settled) -

    09/22/2017 at 09:00 am in Department WEM, Mitchell L. Beckloff, Presiding
    Final Status Conference (JT 9/25/17COURT DARK ON 9/15/17) - Settled

    09/21/2017 at 09:00 AM in Department R
    (Order to Show Cause Re Contemp; Advanced to this date, o/c settled) -

    09/21/2017 at 09:00 am in Department WER, Lawrence Cho, Presiding
    Order to Show Cause Re Contemp (OSC RE: CONTEMPT AND SANCTIONSAGAINST DEFT MATTHEW J.
    ALHADEFF;AND MSC - THIS HEARING ADVANCED &VACATED (DUE TO SETTLEMENT) PERTHE STIPULATION
    AND ORDER OF COURTSIGNED & FILED ON 9/20/17.) - Advanced to this date, o/c settled


https://www.lacourt.org/casesummary/ui/OSCasesummary.aspx#ROA                                                           20/45
2/12/2019 Case                                  LASC - Filed
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    09/19/2017 at 08:30 AM in Department M   #:1659
    Unknown Event Type - Not Held - Advanced and Vacated

    08/29/2017 at 08:30 AM in Department M
    (Motion to Strike; Advanced to this date & continued) -

    08/28/2017 at 08:30 AM in Department M
    Hearing on Motion for Protective Order (Motion for Protective Order; Court Makes Order) -

    08/28/2017 at 08:30 am in Department WEM, Mitchell L. Beckloff, Presiding
    Motion for Protective Order - Court Makes Order

    08/21/2017 at 09:00 AM in Department R
    Ex-Parte Proceedings - Held

    08/21/2017 at 09:00 am in Department WER, Lawrence Cho, Presiding
    Ex-Parte Application (DEF EX PARTE APPL RE MOTION TOQUASH OR RECALL BENCH WARRANT) - Completed

    08/15/2017 at 08:30 AM in Department M
    Ruling on Submitted Matter (Ruling on Submitted Matter; Court Makes Order) -

    08/15/2017 at 08:30 am in Department WEM, Mitchell L. Beckloff, Presiding
    Ruling on Submitted Matter - Court Makes Order

    08/08/2017 at 08:30 AM in Department M
    Unknown Event Type - Held - Taken under Submission

    08/08/2017 at 08:30 am in Department WEM, Mitchell L. Beckloff, Presiding
    Motion for Order - Submitted

    08/04/2017 at 09:30 AM in Department R
    Unknown Event Type - Held - Continued

    08/04/2017 at 09:30 am in Department WER, Lawrence Cho, Presiding
    Order to Show Cause Re Contemp - Held-Continued

    07/28/2017 at 09:00 AM in Department M
    Hearing on Motion for Protective Order (Motion for Protective Order; Advanced to this date & continued) -

    07/21/2017 at 09:00 AM in Department M
    Ex-Parte Proceedings (Ex Parte Application; Motion Granted in Part) -

    07/21/2017 at 09:00 am in Department WEM, Mitchell L. Beckloff, Presiding
    Ex-Parte Application - Motion Granted in Part

    07/06/2017 at 09:00 AM in Department M
    Ruling on Submitted Matter (Ruling on Submitted Matter; Court Makes Order) -

    07/06/2017 at 09:00 am in Department WEM, Mitchell L. Beckloff, Presiding
    Ruling on Submitted Matter - Court Makes Order

    Click on any of the below link(s) to see Register of Action Items on or before the date indicated:
    TOP 06/30/2017 11/18/2016

    06/30/2017 at 09:30 AM in Department R
    Unknown Event Type - Held - Continued

    06/30/2017 at 09:00 AM in Department M
    Unknown Event Type - Held - Taken under Submission

    06/30/2017 at 09:30 am in Department WER, Lawrence Cho, Presiding
    Order to Show Cause Re Contemp (ORDER TO SHOW CAUSE RE: SANCTIONSAND CONTEMPT AGAINST
    DEFENDANTMATTHEW JOSEPH ALHADEFF F0R DEFT'SKNOWINGLY FAILING TO OBEY A LAWFULCOURT ORDER
    TO APPEAR FOR THE MSCON 6/16/17.) - Held-Continued

    06/30/2017 at 09:00 am in Department WEM, Mitchell L. Beckloff, Presiding
    Motion to Compel ((2) MOTIONS TO COMPEL) - Submitted



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    06/20/2017 at 08:30 AM in Department M   #:1660
    Hearing on Motion for Summary Judgment - Not Held - Advanced and Vacated

    06/16/2017 at 09:30 AM in Department R
    Mandatory Settlement Conference (MSC) (Mandatory Settlement Conference; Not held) -

    06/16/2017 at 09:30 am in Department WER, Lawrence Cho, Presiding
    Mandatory Settlement Conference - Not held

    06/01/2017 at 08:30 AM in Department R
    Ex-Parte Proceedings (Exparte proceeding; Denied) -

    06/01/2017 at 08:30 am in Department WER, Lawrence Cho, Presiding
    Exparte proceeding - Denied

    05/03/2017 at 08:30 AM in Department M
    (Motion; Continued) -

    05/03/2017 at 08:30 am in Department WEM, Mitchell L. Beckloff, Presiding
    Motion (FOR FINANCIAL DISCOVERY) - Continued

    04/24/2017 at 08:30 AM in Department M
    Ruling on Submitted Matter (Ruling on Submitted Matter; Court Makes Order) -

    04/24/2017 at 08:30 AM in Department M
    Unknown Event Type - Held - Motion Granted

    04/24/2017 at 08:30 am in Department WEM, Mitchell L. Beckloff, Presiding
    Ruling on Submitted Matter - Court Makes Order

    04/24/2017 at 08:30 am in Department WEM, Mitchell L. Beckloff, Presiding
    Motion to Compel (COMPLIANCE WITH COURT ORDER) - Motion Granted

    04/18/2017 at 08:30 AM in Department M
    (Motion to Compel; Advanced to this date & continued) -

    04/18/2017 at 08:30 AM in Department M
    Ex-Parte Proceedings - Held - Taken under Submission

    04/18/2017 at 08:30 am in Department WEM, Mitchell L. Beckloff, Presiding
    Ex-Parte Application - Submitted

    04/18/2017 at 08:30 am in Department WEM, Mitchell L. Beckloff, Presiding
    Motion to Compel (CONT. BY THE COURT TO 6/30/17) - Advanced to this date & continued

    04/14/2017 at 09:00 AM in Department M
    Unknown Event Type - Not Held - Advanced and Vacated

    03/13/2017 at 08:30 AM in Department M
    Ex-Parte Proceedings (Ex Parte Application; Denied) -

    03/13/2017 at 08:30 am in Department WEM, Mitchell L. Beckloff, Presiding
    Ex-Parte Application - Denied

    03/01/2017 at 08:30 AM in Department M
    (Motion to Compel; Court Makes Order) -

    03/01/2017 at 08:30 am in Department WEM, Mitchell L. Beckloff, Presiding
    Motion to Compel ((2) MOTION TO COMPEL) - Court Makes Order

    02/28/2017 at 08:30 AM in Department M
    Unknown Event Type

    02/24/2017 at 09:00 AM in Department M
    (Motion to Compel; Continued by Court) -

    02/24/2017 at 09:00 am in Department WEM, Mitchell L. Beckloff, Presiding
    Motion to Compel (FURTHER RESPONSES) - Continued by Court


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    02/17/2017 at 09:00 AM in Department M   #:1661
    Unknown Event Type - Not Held - Advanced and Vacated

    02/10/2017 at 08:30 AM in Department 97
    Jury Trial (Jury Trial; Transferred to different departmnt) -

    01/23/2017 at 10:00 AM in Department 97
    Final Status Conference (Final Status Conference; Transferred to different departmnt) -

    01/12/2017 at 08:30 AM in Department M
    Ex-Parte Proceedings (Ex Parte Application; Motion Denied) -

    01/12/2017 at 08:30 am in Department WEM, Mitchell L. Beckloff, Presiding
    Ex-Parte Application - Motion Denied

    12/30/2016 at 09:00 AM in Department M
    Unknown Event Type - Held - Motion Granted

    12/30/2016 at 09:00 am in Department WEM, Mitchell L. Beckloff, Presiding
    Motion to Compel (AND MOTION FOR PROTECTIVE ORDER;) - Motion Granted

    12/13/2016 at 08:30 AM in Department M
    Case Management Conference (Conference-Case Management; Trial Set) -

    12/13/2016 at 08:30 am in Department WEM, Mitchell L. Beckloff, Presiding
    Conference-Case Management (AND MOTION TO COMPEL;) - Trial Set

    12/09/2016 at 08:30 AM in Department M
    (Motion to Compel; Advanced to this date & continued) -

    12/09/2016 at 08:30 am in Department WEM, Mitchell L. Beckloff, Presiding
    Motion to Compel (DEFENDANT TO COMPLY WITHDEPOSITION NOTICE AND SANCTIONSCONTINUED TO 12/13/16) -
    Advanced to this date & continued

    11/22/2016 at 10:00 AM in Department 97
    Hearing on Motion to Compel Further Discovery Responses (MOTION - COMPEL FURTHER RESPONSES; Transferred to
    different departmnt) -

    Click on any of the below link(s) to see Register of Action Items on or before the date indicated:
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    11/18/2016 at 09:00 AM in Department M
    Ex-Parte Proceedings (Ex Parte Application; Motion Denied) -

    11/18/2016 at 09:00 am in Department WEM, Mitchell L. Beckloff, Presiding
    Ex-Parte Application - Motion Denied

    10/17/2016 at 1:30 PM in Department 97
    Hearing on Motion for Protective Order (Motion for Protective Order; Transferred to different departmnt) -

    10/05/2016 at 1:30 PM in Department 97
    Hearing on Motion to Compel Deposition (MOTION - COMPEL DEPOSITION; Transferred to different departmnt) -

    09/19/2016 at 10:30 AM in Department 97
    Informal Discovery Conference (IDC) (Informal Discovery Conference-PI; Not Resolved-PI) -

    Click on any of the below link(s) to see Register of Action Items on or before the date indicated:
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    Click on any of the below link(s) to see Register of Action Items on#:1662
                                                                         or before the date indicated:
    08/28/2017 07/06/2017 04/18/2017 02/09/2017 10/05/2016

    08/10/2018 at 08:30 AM in Department 97
    (OSC RE Dismissal; Transferred to different departmnt) -

    07/27/2018 at 09:00 AM in Department M
    Unknown Event Type - Not Held - Advanced and Vacated

    12/08/2017 at 09:00 AM in Department M
    Unknown Event Type - Not Held - Advanced and Vacated

    12/08/2017 at 09:00 AM in Department M
    Unknown Event Type - Not Held - Advanced and Vacated

    12/01/2017 at 09:00 AM in Department M
    Unknown Event Type - Not Held - Advanced and Vacated

    10/24/2017 at 08:30 AM in Department M
    Unknown Event Type - Not Held - Advanced and Vacated

    10/06/2017 at 08:30 AM in Department M
    (Motion to Compel; Advanced to this date & continued) -

    09/29/2017 at 09:00 AM in Department M
    Unknown Event Type - Not Held - Advanced and Vacated

    09/28/2017 Notice of Ruling
    Filed by Defendant

    09/28/2017 Notice of Ruling (AND OSC RE DISMISSAL )
    Filed by Attorney for Defendant

    09/25/2017 at 09:00 AM in Department M
    Jury Trial - Not Held - Advanced and Vacated

    09/25/2017 at 09:00 am in Department WEM, Mitchell L. Beckloff, Presiding
    Jury Trial (5 DAYS) - Advanced to this date & Vacated

    09/25/2017 Request for Dismissal
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    09/25/2017 Request for Dismissal (WITH PREJUDICE AS TO ENTIRE ACTION OF ALL PARTIES AND ALL CAUSES OF
    ACTION )
    Filed by Attorney for Plaintiff

    09/22/2017 at 09:00 AM in Department M
    Final Status Conference (Final Status Conference; Settled) -

    09/22/2017 at 09:00 am in Department WEM, Mitchell L. Beckloff, Presiding
    Final Status Conference (JT 9/25/17COURT DARK ON 9/15/17) - Settled

    09/21/2017 at 09:00 AM in Department R
    (Order to Show Cause Re Contemp; Advanced to this date, o/c settled) -

    09/21/2017 at 09:00 am in Department WER, Lawrence Cho, Presiding
    Order to Show Cause Re Contemp (OSC RE: CONTEMPT AND SANCTIONSAGAINST DEFT MATTHEW J.
    ALHADEFF;AND MSC - THIS HEARING ADVANCED &VACATED (DUE TO SETTLEMENT) PERTHE STIPULATION
    AND ORDER OF COURTSIGNED & FILED ON 9/20/17.) - Advanced to this date, o/c settled

    09/20/2017 Stipulation and Order
    Filed by MATTHEW ALHADEFF (Defendant)

    09/20/2017 Stipulation and Order (STIPULATION TO TAKE MSC AND OSC RE: CONTEMPT AND SANCTIONS OFF
    CALENDAR PENDING FINAL SETTLEMENT AND ORDER, IS SIGNED AND FILED THIS DATE. )
    Filed by Attorney for Defendant

    09/19/2017 at 08:30 AM in Department M
    Unknown Event Type - Not Held - Advanced and Vacated

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    09/15/2017 Notice (OF WITHDRAWAL AND TAKING OFF CALENDAR
                                                       #:1663DEFENDANT'S NOTICE OF MOTION TO COMPEL
    FURTHER RESPONSES TO DEFENDANT'S REQUESTS FOR PRODUCTION OF DOCUMENTS (SET TWO) AND FOR
    MONETARY SANCIONS)
    Filed by Attorney for Defendant

    09/15/2017 Notice
    Filed by MATTHEW ALHADEFF (Defendant)

    09/14/2017 Notice
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    09/14/2017 Notice (OF TAKING MOTIONS OFF CALENDAR WITHOUT PREJUDICE )
    Filed by Attorney for Plaintiff

    09/11/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    09/11/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    09/11/2017 Opposition (TO MOTION TO COMPEL FURTHER RESPONSES TO REQUEST FOR PRODUCTION OF
    DOCUMENTS SET THREE )
    Filed by Attorney for Defendant

    09/11/2017 Opposition (TO MOTION TO COMPEL FURTHER RESPONSES TO SPECIAL INTERROGATORIES SET TWO )
    Filed by Attorney for Defendant

    09/11/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    09/11/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    09/11/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    09/11/2017 Declaration
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    09/11/2017 Opposition (TO MOTION IN LIMINE NO.5 TO PRECLUDE DUPLICATIVE EXPERT OPINIONS )
    Filed by Attorney for Defendant

    09/11/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    09/11/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    09/11/2017 Opposition (TO MOTION IN LIMINE NO.1 TO PRECLUDE EVIDENCE REGARDING PLAINTIFF'S WEALTH
    OR FINANCIAL RESOURCES )
    Filed by Attorney for Defendant

    09/11/2017 Opposition (TO MOTION IN LIMINE NO.2 TO PRECLUDE EVIDENCE REGARDING DEFENDANT'S
    INABILITY TO PAY PUNITIVE DAMAGES OR THE ABSENCE OF EVIDENCE OF DEFENDANT'S FINANCIAL
    CONDITION)
    Filed by Attorney for Defendant

    09/11/2017 Opposition (TO MOTION IN LIMINE NO.3 TO PRECLUDE EVIDENCE REGARDING PLAINTIFF'S RECEIPT OF
    COLLATERAL SOURCE BENEFITS )
    Filed by Attorney for Defendant

    09/11/2017 Opposition (TO MOTION IN LIMINE NO.4 TO PRECLUDE EVIDENCE REGARDING DEFENDANT'S INJURIES
    )
    Filed by Attorney for Defendant

    09/11/2017 Response
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)



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    09/11/2017 Opposition (TO DEFENDANT'S MOTION IN LIMINE#:1664
                                                           NO.1 TO EXCLUDE "GOLDEN RULE" AND "REPTILE
    THEORY" ARGUMENTS AT TRIAL )
    Filed by Attorney for Plaintiff

    09/11/2017 Opposition (TO DEFENDANT'S MOTION IN LIMINE NO.2 TO EXCLUDE EVIDENCE OF MEDICAL EXPENSES
    IN EXCESS OF THE LESSER OF AMOUNTS ACTUALLY PAID OR ACCEPTED AS PAID, OR THE REASONABLE VALUE
    OF SERVICES PROVI)
    Filed by Attorney for Plaintiff

    09/11/2017 Opposition (TO DEFENDANT'S MOTION IN LIMINE NO.3 TO EXCLUDE EVIDENCE OR ARGUMENT
    CONCERNING DEFENDANT'S MEDICAL RECORDS )
    Filed by Attorney for Plaintiff

    09/11/2017 Opposition (TO DEFENDANT'S MOTION IN LIMINE NO.4 TO EXCLUDE EVIDENCE OR ARGUMENT
    CONCERNING POST-ACCIDENT TEXT MESSAGES FROM DEFENDANT )
    Filed by Attorney for Plaintiff

    09/11/2017 Opposition (TO DEFENDANT'S MOTION IN LIMINE NO.5 TO EXCLUDE EVIDENCE OR ARGUMENT THAT
    DEFENDANT EXERCISED HIS FIFTH AMENDMENT RIGHT AGAINST SELF-INCRIMINATION )
    Filed by Attorney for Plaintiff

    09/11/2017 Opposition (TO DEFENDANT'S MOTION IN LIMINE NO.6 TO PRECLUDE PLAINTIFF FROM MENTIONING
    ANY ACTUAL OR POTENTIAL DOLLAR AMOUNT OF DAMAGES IN THIS OR ANY OTHER HYPOTHETICAL CASE
    TO THE JURY DURING VOIR DIRE)
    Filed by Attorney for Plaintiff

    09/11/2017 Response (TO DEFENDANT'S MOTION IN LIMINE NO.7 TO PRECLUDE THE ADMISSION OF EVIDENCE OF
    PROFITS OR FINANCIAL CONDITION UNLESS AND UNTIL THE TRIER OF FACT MAKES A FINDING OF MALICE,
    OPPRESSION, OR FRAUD)
    Filed by Attorney for Plaintiff

    09/11/2017 Opposition (TO DEFENDANT'S MOTION IN LIMINE NO.8 TO EXCLUDE EVIDENCE OF ANY PRIOR
    ARRESTS OR CONVICTIONS )
    Filed by Attorney for Plaintiff

    09/11/2017 Declaration (SUPPLEMENTAL OMNIBUS DECLARATION OF AHMED IBRAHIM IN SUPPORT OF
    PLAINTIFF'S OPPOSITIONS TO DEFENDANT MOTIONS IN LIMINE NOS. 1-8 )
    Filed by Attorney for Plaintiff

    09/11/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    09/11/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    09/11/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    09/11/2017 Opposition
    Filed by ROBERT F. TYSON (Attorney)

    09/11/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    09/11/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    09/11/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    09/01/2017 Proof of Service (not Summons and Complaint)
    Filed by MATTHEW ALHADEFF (Defendant)

    09/01/2017 Proof of Service
    Filed by Attorney for Defendant

    08/31/2017 Amended Proof of Service
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

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    08/31/2017 Amended Proof of Service      #:1665
    Filed by Attorney for Plaintiff

    08/30/2017 Motion in Limine
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/30/2017 Motion in Limine (NO.3 TO EXCLUDE EVIDENCE OR ARGUMENT CONCERNING DEFENDANT'S MEDICAL
    RECORDS; DECLARATION OF KARA PAPE )
    Filed by Attorney for Defendant

    08/30/2017 Motion in Limine (NO.2 TO EXCLUDE EVIDENCE OF MEDICAL EXPENSES IN EXCESS OF THE LESSER OF
    AMOUNTS ACTUALLY PAID OR ACCEPTED AS PAID, OR THE REASONABLE VALUE OF SERVICES PROVIDED;
    DECLARATION OF KARA PAPE)
    Filed by Attorney for Defendant

    08/30/2017 Motion in Limine (NO.1 TO EXCLUDE "GOLDEN RULE" AND "REPTILE THEORY" ARGUMENTS AT TRIAL;
    DECLARATION OF KARA PAPE )
    Filed by Attorney for Defendant

    08/30/2017 Motion in Limine (NO.1 TO PRECLUDE DEFENDANT FROM OFFERING ANY EVIDENCE REGARDING
    PLAINTIFF'S OR PLAINTIFF'S FAMILY WEALTH AND/OR FINANCIAL RESOURCES )
    Filed by Attorney for Plaintiff

    08/30/2017 Motion in Limine (NO.2 TO PRECLUDE DEFENDANT FROM OFFERING ANY EVIDENCE OR ARGUMENT
    REGARDING DEFENDANT'S ALLEGED INABILITY TO PAY ANY PUNITIVE DAMAGES AWARD OR THE ABSENCE OF
    EVIDENCE OF DEFENDANT'S FINANCIAL)
    Filed by Attorney for Plaintiff

    08/30/2017 Motion in Limine (NO.3 TO PRECLUDE DEFENDANT FROM OFFERING ANY EVIDENCE OR ARGUMENT
    ABOUT PLAINTIFF'S RECEIPT OF COLLATERAL SOURCE BENEFITS )
    Filed by Attorney for Plaintiff

    08/30/2017 Motion in Limine (NO.4 TO PRECLUDE DEFENDANT FROM OFFERING ANY EVIDENCE REGARDING
    DEFENDANT'S INJURIES )
    Filed by Attorney for Plaintiff

    08/30/2017 Motion in Limine (NO.5 TO PRECLUDE DEFENDANT FROM OFFERING DUPLICATIVE EXPERT OPINIONS )
    Filed by Attorney for Plaintiff

    08/30/2017 Declaration (OMNIBUS DECLARATION OF AHMED IBRAHIM IN SUPPORT OF PLAINTIFF'S MOTIONS IN
    LIMINE NOS. 1-5 )
    Filed by Attorney for Plaintiff

    08/30/2017 Motion in Limine (NO.8 TO EXCLUDE EVIDENCE OF ANY PRIOR ARRESTS OR CONVICTIONS;
    DECLARATION OF KARA PAPE )
    Filed by Attorney for Defendant

    08/30/2017 Motion in Limine (NO.7 TO PRECLUDE THE ADMISSION OF EVIDENCE OF PROFITS OR FINANCIAL
    CONDITION UNLESS AND UNTIL THE TRIER OF FACT MAKES A FINDING OF MALICE, OPPRESSION, OR FRAUD )
    Filed by Attorney for Defendant

    08/30/2017 Motion in Limine (NO.6 TO PRECLUDE PLAINTIFF FROM MENTIONING ANY ACTUAL OR POTENTIAL
    DOLLAR AMOUNT OF DAMAGES IN THIS OR ANY OTHER HYPOTHETICAL CASE TO THE JURY DURING VOIR
    DIRE; DECLARATION OF KARA PAPE)
    Filed by Attorney for Defendant

    08/30/2017 Motion in Limine (NO.5 TO EXCLUDE EVIDENCE OR ARGUMENT THAT DEFENDANT EXERCISED HIS
    FIFTH AMENDMENT RIGHT AGAINST SELF-INCRIMINATION; DECLARATION OF KARA PAPE )
    Filed by Attorney for Defendant

    08/30/2017 Motion in Limine
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/30/2017 Motion in Limine (NO.4 TO EXCLUDE EVIDENCE OR ARGUMENT CONCERNING POST-ACCIDENT TEXT
    MESSAGES FROM DEFENDANT; DECLARATION OF KARA PAPE )
    Filed by Attorney for Defendant



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    08/30/2017 Motion in Limine              #:1666
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/30/2017 Motion in Limine
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/30/2017 Motion in Limine
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/30/2017 Declaration
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/30/2017 Motion in Limine
    Filed by MATTHEW ALHADEFF (Defendant)

    08/30/2017 Motion in Limine
    Filed by MATTHEW ALHADEFF (Defendant)

    08/30/2017 Motion in Limine
    Filed by MATTHEW ALHADEFF (Defendant)

    08/30/2017 Motion in Limine
    Filed by MATTHEW ALHADEFF (Defendant)

    08/30/2017 Motion in Limine
    Filed by MATTHEW ALHADEFF (Defendant)

    08/30/2017 Motion in Limine
    Filed by MATTHEW ALHADEFF (Defendant)

    08/30/2017 Motion in Limine
    Filed by MATTHEW ALHADEFF (Defendant)

    08/30/2017 Motion in Limine
    Filed by MATTHEW ALHADEFF (Defendant)

    08/29/2017 at 08:30 AM in Department M
    (Motion to Strike; Advanced to this date & continued) -

    08/29/2017 Notice of Ruling
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/29/2017 Notice of Ruling
    Filed by Attorney for Plaintiff

    Click on any of the below link(s) to see Register of Action Items on or before the date indicated:
    TOP 08/28/2017 07/06/2017 04/18/2017 02/09/2017 10/05/2016

    08/28/2017 at 08:30 AM in Department M
    Hearing on Motion for Protective Order (Motion for Protective Order; Court Makes Order) -

    08/28/2017 at 08:30 am in Department WEM, Mitchell L. Beckloff, Presiding
    Motion for Protective Order - Court Makes Order

    08/28/2017 Stipulation and Order to use Certified Shorthand Reporter
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/28/2017 Stip & Order-use CSR (BRITTANY KEPLER #13970 )
    Filed by Attorney for Plaintiff

    08/28/2017 Ex-Parte Application
    Filed by Attorney for Plaintiff

    08/28/2017 Ex-Parte Application
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/22/2017 Notice of Continuance (NOTICE OF CONTINUANCE OF ORDER TO SHOW CAUSE RE CONTEMPT AND
    SANCTIONS AND MSC TO 9/21/17 )
    Filed by Attorney for Plaintiff

https://www.lacourt.org/casesummary/ui/OSCasesummary.aspx#ROA                                            28/45
2/12/2019 Case  8:18-cv-01644-VAP-KES Document 51-5          LASC - Filed
                                                                    Case Access
                                                                           02/12/19 Page 79 of 133 Page ID
    08/22/2017 Notice Re: Continuance of Hearing and Order #:1667
    Filed by Plaintiff

    08/21/2017 at 09:00 AM in Department R
    Ex-Parte Proceedings - Held

    08/21/2017 at 09:00 am in Department WER, Lawrence Cho, Presiding
    Ex-Parte Application (DEF EX PARTE APPL RE MOTION TOQUASH OR RECALL BENCH WARRANT) - Completed

    08/21/2017 Ex-Parte Application (DEFENDANT, MATTHEW ALHADEFF'S EX PARTE APPLICATION RE MOTION TO
    QUASH OR RECALL BENCH WARRANT )
    Filed by Attorney for Defendant

    08/21/2017 Ex-Parte Application
    Filed by MATTHEW ALHADEFF (Defendant)

    08/18/2017 Opposition (DEFENDANT MATTHEW JOSEPH ALHADEFF'S OPPOSITION TO PLAINTIFF'S BRIEF
    REGARDING THE IMPOSITION OF SANCTIONS - ON: 8/25/17 AT 9:30 AM IN DEPARTMENT WE-R.)
    Filed by Attorney for Defendant

    08/18/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    08/17/2017 Notice of Motion (AND MOTION TO COMPEL FURTHER RESPONSES FROM DEFENDANT MATTHEW
    JOSEPH ALHADEFF TO REQUEST FOR PRODUCTION (SET THREE) AND FOR MONETARY SANCTIONS IN THE
    AMOUNT OF $3,260 AGAINST DEFENDANT)
    Filed by Attorney for Plaintiff

    08/17/2017 Statement - General (SEPARATE STATEMENT OF DISPUTED ITEMS ON MOTION TO COMPEL FURTHER
    RESPONSES FROM DEFENDANT MATTHEW JOSEPH ALHADEFF TO REQUEST FOR PRODUCTION (SET THREE)
    AND FOR MONETARY SANCTIONS IN THE AMOUNT)
    Filed by Attorney for Plaintiff

    08/17/2017 Notice of Motion
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/17/2017 Statement - General
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/17/2017 Notice of Motion
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/17/2017 Statement - General
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/17/2017 Notice of Motion (AND MOTION TO COMPEL FURTHER RESPONSES FROM DEFENDANT MATTHEW JOSEP
    ALHADEFF TO SPECIAL INTERROGATORIES (SET TWO) AND FOR MONETARY SANCTIONS IN THE AMOUNT OF
    $5,260 AGAINST DEFENDANT)
    Filed by Attorney for Plaintiff

    08/17/2017 Statement - General (SEPARATE STATEMENT OF DISPUTED ITEMS ON MOTION TO COMPEL FURTHER
    REPSONSES FROM DEFENDANT MATTHEW JOSEPH ALHADEFF TO SPECIAL INTERROGATORIES (SET TWO) AND
    FOR MONETARY SANCTIONS IN THE AMOUNT)
    Filed by Attorney for Plaintiff

    08/15/2017 at 08:30 AM in Department M
    Ruling on Submitted Matter (Ruling on Submitted Matter; Court Makes Order) -

    08/15/2017 at 08:30 am in Department WEM, Mitchell L. Beckloff, Presiding
    Ruling on Submitted Matter - Court Makes Order

    08/14/2017 Notice
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/14/2017 Notice (NOTICE OF WITHDRAWAL AND TAKING OFF CALENDAR PLTFS MOTION TO QUASH
    DEPOSITION SUBPOENAS )
    Filed by Attorney for Plaintiff


https://www.lacourt.org/casesummary/ui/OSCasesummary.aspx#ROA                                                29/45
2/12/2019 Case  8:18-cv-01644-VAP-KES Document 51-5          LASC - Filed
                                                                    Case Access
                                                                           02/12/19 Page 80 of 133 Page ID
    08/11/2017 Brief (PLAINTIFF'S BRIEF REGARDING THE INPOSITION
                                                          #:1668OF SANCTIONS AGAINST DEFENDANT
    MATTHEW JOSEPH ALHADEFF - SEEKING MONETARY AND TERMINATING SANCTIONS; DECLARATION OF
    DAMON ROGERS - 8/25/17 9:30 AM DEPT "R".)
    Filed by Attorney for Plaintiff

    08/11/2017 Brief (name extension)
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/08/2017 at 08:30 AM in Department M
    Unknown Event Type - Held - Taken under Submission

    08/08/2017 at 08:30 am in Department WEM, Mitchell L. Beckloff, Presiding
    Motion for Order - Submitted

    08/08/2017 Order Appointing Court Approved Reporter as Official Reporter Pro Tempore
    Filed by MATTHEW ALHADEFF (Defendant)

    08/08/2017 Ord-Appt Apprv Rptr as Rptr protem (NAREN JOHNSON #3827 )
    Filed by Attorney for Defendant

    08/07/2017 Notice of Ruling
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/07/2017 Notice of Ruling
    Filed by Attorney for Plaintiff

    08/04/2017 at 09:30 AM in Department R
    Unknown Event Type - Held - Continued

    08/04/2017 at 09:30 am in Department WER, Lawrence Cho, Presiding
    Order to Show Cause Re Contemp - Held-Continued

    08/04/2017 Order
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/04/2017 Order (ORDER APPOINTING COURT APPROVED REPORTER: DANA SHELLEY, CSR #10177 AS OFFICIAL
    REPORTER PRO TEMPORE, IS SIGNED AND FILED THIS DATE. )
    Filed by Attorney for Plaintiff

    08/02/2017 Miscellaneous-Other
    Filed by MATTHEW ALHADEFF (Defendant)

    08/02/2017 Notice of Motion
    Filed by MATTHEW ALHADEFF (Defendant)

    08/02/2017 Brief (name extension)
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/02/2017 Miscellaneous-Other (SEPARATE STATEMENT )
    Filed by Attorney for Defendant

    08/02/2017 Notice of Motion (AND MOTION TO COMPEL )
    Filed by Attorney for Defendant

    08/02/2017 Brief (PLAINTIFF'S SUBMISSION IN ADVANCE OF THE ORDER TO SHOW CAUSE RE: CONTEMPT AND
    SANCTIONS AGAINST DEFENDANT MATTHEW JOSEPH ALHADEFF; DECLARATION OF DAMON ROGERS - HRG:
    8/4/17 AT 9:30 AM IN DEPT WE-R.)
    Filed by Attorney for Plaintiff

    08/01/2017 Reply to Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    08/01/2017 Reply to Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    08/01/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)



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    08/01/2017 Reply to Opposition (TO DEFENDANT'S MOTION FOR ORDER REQUIRING PLAINTIFF AND HER COUNSEL
                                                           #:1669
    TO RETURN MEDICAL RECORDS RECEIVED FROM CEDARS SINAI MEDICAL CENTER; )
    Filed by Attorney for Defendant

    08/01/2017 Reply to Opposition (TO DEFENDANT'S MOTION FOR RELIEF UNDEER CCP 473(B) )
    Filed by Attorney for Defendant

    08/01/2017 Opposition (TO DEFENDANT'S MOTION FOR PROTECTIVE ORDER AND REQUEST FOR SANCTIONS
    AGAINST PLAINTIFFS COUNSEL IN THE AMOUNT OF $2,260. )
    Filed by Attorney for Plaintiff

    07/28/2017 at 09:00 AM in Department M
    Hearing on Motion for Protective Order (Motion for Protective Order; Advanced to this date & continued) -

    07/26/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    07/26/2017 Answer to First Amended Complaint
    Filed by MATTHEW ALHADEFF (Defendant)

    07/26/2017 Opposition (TO MOTION FOR RELIEF )
    Filed by Attorney for Plaintiff

    07/26/2017 Answer to First Amended Complaint (BEHALF OF: MATTHEW JOSEPH ALHADEFF )
    Filed by Attorney for Defendant

    07/26/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    07/26/2017 Opposition (TO MOTION FOR ORDER )
    Filed by Attorney for Plaintiff

    07/21/2017 at 09:00 AM in Department M
    Ex-Parte Proceedings (Ex Parte Application; Motion Granted in Part) -

    07/21/2017 at 09:00 am in Department WEM, Mitchell L. Beckloff, Presiding
    Ex-Parte Application - Motion Granted in Part

    07/21/2017 Opposition
    Filed by Defendant

    07/21/2017 Ex-Parte Application
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    07/21/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    07/21/2017 Ex-Parte Application
    Filed by MATTHEW ALHADEFF (Defendant)

    07/21/2017 Stipulation and Order to use Certified Shorthand Reporter
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    07/21/2017 Ex-Parte Application
    Filed by Attorney for Plaintiff

    07/21/2017 Opposition
    Filed by Attorney for Defendant

    07/21/2017 Opposition
    Filed by Attorney for Plaintiff

    07/21/2017 Ex-Parte Application
    Filed by Attorney for Defendant

    07/21/2017 Stip & Order-use CSR (DAYNA HESTER #9970 )
    Filed by Attorney for Plaintiff



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    07/20/2017 Notice Re: Continuance of Hearing and Order #:1670
    Filed by Clerk

    07/20/2017 NOTICE OF CONTINUANCE
    Filed by Clerk

    07/19/2017 Notice of Motion
    Filed by MATTHEW ALHADEFF (Defendant)

    07/19/2017 Notice of Motion (AND MOTION FOR PROTECTIVE ORDER; REQUEST FOR SANCTIONS AGAINST
    PLAINTIFF'S COUNSEL IN THE AMOUNT OF $2,260; MEMORANDUM OF POINTS AND AUTHORITIES;
    DECLARATION OF CHRISTINA Y. MOROVATI; (PROPOSED))
    Filed by Attorney for Defendant

    07/17/2017 Notice of Association of Attorneys
    Filed by Attorney for Defendant

    07/17/2017 Association of Attorney
    Filed by MATTHEW ALHADEFF (Defendant)

    07/14/2017 Notice of Motion
    Filed by MATTHEW ALHADEFF (Defendant)

    07/14/2017 Notice of Motion
    Filed by MATTHEW ALHADEFF (Defendant)

    07/14/2017 Notice of Motion (AND MOTION FOR ORDER REQUIRING PLAINTIFF AND HER COUNSEL TO RETURN ALL
    COPIES OF DEFENDANT'S MEDICAL RECORDS RECEIVED FROM CEDARS SINAI MEDICAL CENTER;
    MEMORANDUM OF POINTS AND AUTHORITI)
    Filed by Attorney for Defendant

    07/14/2017 Notice of Motion (AND MOTION FOR RELIEF UNDER CODE OF CIVIL PROCEDURE 473 (B) FOR AUGUST 8,
    2017; DECLARATION OF CHRISTINA Y. MOROVATI; DECLARATION OF ROBERT F. TYSON, JR (PROPOSED) ORDER)
    Filed by Attorney for Defendant

    Click on any of the below link(s) to see Register of Action Items on or before the date indicated:
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    07/06/2017 at 09:00 AM in Department M
    Ruling on Submitted Matter (Ruling on Submitted Matter; Court Makes Order) -

    07/06/2017 at 09:00 am in Department WEM, Mitchell L. Beckloff, Presiding
    Ruling on Submitted Matter - Court Makes Order

    07/06/2017 Notice of Ruling
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    07/06/2017 Notice of Ruling
    Filed by Attorney for Plaintiff

    06/30/2017 at 09:30 AM in Department R
    Unknown Event Type - Held - Continued

    06/30/2017 at 09:00 AM in Department M
    Unknown Event Type - Held - Taken under Submission

    06/30/2017 at 09:30 am in Department WER, Lawrence Cho, Presiding
    Order to Show Cause Re Contemp (ORDER TO SHOW CAUSE RE: SANCTIONSAND CONTEMPT AGAINST
    DEFENDANTMATTHEW JOSEPH ALHADEFF F0R DEFT'SKNOWINGLY FAILING TO OBEY A LAWFULCOURT ORDER
    TO APPEAR FOR THE MSCON 6/16/17.) - Held-Continued

    06/30/2017 at 09:00 am in Department WEM, Mitchell L. Beckloff, Presiding
    Motion to Compel ((2) MOTIONS TO COMPEL) - Submitted

    06/30/2017 Ord-Appt Apprv Rptr as Rptr protem (CYNTHIA LAMB #8349 )
    Filed by Attorney for Defendant

    06/30/2017 Stipulation and Order (STIPULATION AND ORDER TO USE CERTIFIED SHORTHAND REPORTER: AMANDA
    R. TEIDEL, CSR #13129, IS SIGNED AND FILED THIS DATE. )
https://www.lacourt.org/casesummary/ui/OSCasesummary.aspx#ROA                                                32/45
2/12/2019 Case                                   LASC - Filed
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    Filed by Attorney for Plaintiff           #:1671
    06/30/2017 Order Appointing Court Approved Reporter as Official Reporter Pro Tempore
    Filed by MATTHEW ALHADEFF (Defendant)

    06/30/2017 Stipulation and Order
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    06/29/2017 Response
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    06/29/2017 Response (PLAINTIFF'S RESPONSE TO DEFENDANT'S OPPOSITION TO ORDER TO SHOW CAUSE;
    DECLARATION OF DAMON ROGERS - 6/30/17 AT 9:30 AM IN DEPARTMENT WE-R.)
    Filed by Attorney for Plaintiff

    06/28/2017 Declaration
    Filed by MATTHEW ALHADEFF (Defendant)

    06/28/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    06/28/2017 Opposition (OPPOSITION TO ORDER TO SHOW CAUSE )
    Filed by Attorney for Defendant

    06/28/2017 Declaration (DECLARATION OF CHRISTINA Y. MOROVATI RE: ORDER TO SHOW CAUSE RE: SANCTIONS
    AND CONTEMPT AGAINST MATTHEW JOSEPH ALHADEFF )
    Filed by Attorney for Defendant

    06/28/2017 Opposition (OPPOSITION TO ORDER TO SHOW CAUSE, IS FILED ON BEHALF OF DEFENDANT MATTHEW
    ALHADEFF, BY SPECIALLY APPEARING ATTORNEY CHRISTINA Y. MOROVATI, IS FILED THIS DATE.)
    Filed by Attorney for Defendant

    06/28/2017 Declaration (DECLARATION OF CRISTINA Y. MOROVATI RE: ORDER TO SHOW CAUSE RE: SANCTIONS
    AND CONTEMPT AGAINST MATTHEW JOSEPH ALHADEFF, IS FILED THIS DATE.)
    Filed by Attorney for Defendant

    06/28/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    06/28/2017 Declaration
    Filed by MATTHEW ALHADEFF (Defendant)

    06/23/2017 Reply to Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    06/23/2017 Notice of Lodging (CERTIFIED DEPOSITION TRANSCRIPT OF MATTHEW J. ALHADEFF: (1) IN SUPPORT OF
    PLAINTIFF'S MOTION TO COMPEL DEFENDANT MATTHEW ALHADEFF TO COMPLY WITH COURT'S DECEMBER 30,
    2016 ORDER, FOR AN ORDER)
    Filed by Attorney for Plaintiff

    06/23/2017 Reply to Opposition (TO MOTION TO STRIKE PORTIONS OF PLAINTIFF'S FIRST AMENDED COMPLAINT )
    Filed by Attorney for Defendant

    06/23/2017 Reply to Opposition (FOR ORDER TO STAY ENTIRE ACTION UNTIL MAY 19, 2018 TO ALLOW DEFENDANT'S
    FIFTH AMENDMENT RIGHTS TO BE PRESERVED )
    Filed by Attorney for Defendant

    06/23/2017 Notice of Lodging
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    06/23/2017 Reply to Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    06/23/2017 Reply to Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    06/23/2017 Opposition (SUPPLEMENTAL OPPOSITION TO DEFENDANT'S MOTION FOR SUMMARY JUDGMENT AFTER
    CONDUCTING DEPOSITION OF EZRI NAMVAR; DECLARATION )
    Filed by Attorney for Plaintiff
https://www.lacourt.org/casesummary/ui/OSCasesummary.aspx#ROA                                                 33/45
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    06/23/2017 Reply to Opposition (TO MOTION FOR PROTECTIVE ORDER TERMINATING DEFENDANT'S DEPOSITION OR
                                                           #:1672
    IN THE ALTERNATIVE FOR APPOINTMENT OF DISCOVERY REFEREE; REQUEST FOR SANCTIONS AGAINST
    MICHAEL J. AVENATTI AND THE FIRM)
    Filed by Attorney for Defendant

    06/23/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    06/20/2017 at 08:30 AM in Department M
    Hearing on Motion for Summary Judgment - Not Held - Advanced and Vacated

    06/19/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    06/19/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    06/19/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    06/19/2017 Opposition (TO DEFENDANT'S MOTION FOR PROTECTIVE ORDER TERMINATING DEFENDANT'S
    DEPOSITION OR IN THE ALTERNATIVE FOR APPOINTMENT OF DISCOVERY REFEREE AND REQUEST FOR
    SANCTIONS AGAINST MICHAEL J. AVENA)
    Filed by Attorney for Plaintiff

    06/19/2017 Opposition (TO DEFENDANT'S MOTION TO STAY ENTIRE ACTION UNTIL MAY 19, 2018; DECLARATION OF
    DAMON ROGERS IN OPPOSITION )
    Filed by Attorney for Plaintiff

    06/19/2017 Opposition (TO DEFENDANT'S MOTION TO STRIKE PORTIONS OF PLAINTIFF'S FIRST AMENDED
    COMPLAINT; DECLARATION OF DAMON ROGERS IN OPPOSITION )
    Filed by Attorney for Plaintiff

    06/16/2017 at 09:30 AM in Department R
    Mandatory Settlement Conference (MSC) (Mandatory Settlement Conference; Not held) -

    06/16/2017 at 09:30 am in Department WER, Lawrence Cho, Presiding
    Mandatory Settlement Conference - Not held

    06/16/2017 Order to Show Cause
    Filed by Court

    06/16/2017 Order (ORDER APPOINTING COURT APPROVED REPORTER: NANCY K. BRINK, CSR #6501, AS OFFICIAL
    REPORTER PRO TEMPORE, IS SIGNED AND FILED THIS DATE. )
    Filed by Attorney for Plaintiff

    06/16/2017 Order
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    06/16/2017 Order to Show Cause (ORDER TO SHOW CAUSE RE: SANCTIONS AND CONTEMPT AGAINST DEFENDANT
    MATTHEW JOSEPH ALHADEFF, FOR DEFTS FTA AT MSC ON 6/16/17; A BENCH WARRANT IS ISSUED & HELD UNITL
    6/30/17; BAIL SET: $150,000.00)
    Filed by Court

    06/02/2017 Notice of Ruling
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    06/02/2017 Notice of Ruling
    Filed by Attorney for Plaintiff

    06/01/2017 at 08:30 AM in Department R
    Ex-Parte Proceedings (Exparte proceeding; Denied) -

    06/01/2017 at 08:30 am in Department WER, Lawrence Cho, Presiding
    Exparte proceeding - Denied

    06/01/2017 ExParte Application
    Filed by MATTHEW ALHADEFF (Defendant)

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    06/01/2017 Order                         #:1673
    Filed by MATTHEW ALHADEFF (Defendant)

    06/01/2017 Order (ORDER APPOINTING COURT APPROVED REPORTER: JOSIANE B. GOLDMAN AS OFFICIAL
    REPORTER PRO TEMPORE, IS SIGNED AND FILED THIS DATE. )
    Filed by Attorney for Defendant

    06/01/2017 ExParte Application (DEFT MATTHEW ALHADEFF'S EXPARTE APPLICATION FOR AN ORDER FOR RELIEF
    FROM THE COURT'S ORDER REQUIRING DEFT TO BE PHYSICALLY PRESENT AT THE MSC ON 6/16/17; DECL OF
    CHRISTINA Y. MOROVATI.)
    Filed by Attorney for Defendant

    05/26/2017 Notice of Trial
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    05/26/2017 Notice of Trial (PURSUANT TO SECTION 594 OF THE CODE OF CIVIL PROCEDURE )
    Filed by Attorney for Plaintiff

    05/24/2017 Objection Document Filed
    Filed by MATTHEW ALHADEFF (Defendant)

    05/24/2017 Objection Document Filed (TO NOTICE TO APPEAR AT TRIAL )
    Filed by Attorney for Defendant

    05/18/2017 Notice of Ruling
    Filed by Attorney for Plaintiff

    05/18/2017 Notice of Ruling
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    05/11/2017 Notice of Ruling
    Filed by Attorney for Defendant

    05/11/2017 Notice of Ruling
    Filed by MATTHEW ALHADEFF (Defendant)

    05/11/2017 Notice of Motion
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    05/11/2017 Statement - General
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    05/11/2017 Statement - General (SEPARATE STATEMENT OF ITEMS IN DISPUTE ON MOTION TO QUASH DEPOSITION
    SUBPOENAS SEEKING PRODUCTION OF BUSINESS RECORDS FROM (1) LA FITNESS-WESTWOOD; (2) ART
    INSTITUTE OF CALIFORNIA -)
    Filed by Attorney for Plaintiff

    05/11/2017 Notice of Motion (AND MOTION TO QUASH DEPOSITION SUBPOENAS SEEKING PRODUCTION OF
    BUSINESS RECORDS FROM (1) LA FITNESS- WESTWOOD; (2) ART INSTITUTE OF CALIFORNIA- LOS ANGELES; (3)
    SANTA MONICA COLL)
    Filed by Attorney for Plaintiff

    05/03/2017 at 08:30 AM in Department M
    (Motion; Continued) -

    05/03/2017 at 08:30 am in Department WEM, Mitchell L. Beckloff, Presiding
    Motion (FOR FINANCIAL DISCOVERY) - Continued

    05/03/2017 Stip & Order-use CSR (AMANDA TEIDEL #13129 )
    Filed by Attorney for Plaintiff

    05/03/2017 Stipulation and Order to use Certified Shorthand Reporter
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    05/01/2017 Notice
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    05/01/2017 Notice (OF TAKING CERTAIN MOTIONS OFF CALENDAR WITHOUT PREJUDICE )
    Filed by Attorney for Plaintiff
https://www.lacourt.org/casesummary/ui/OSCasesummary.aspx#ROA                                              35/45
2/12/2019 Case                                  LASC - Filed
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    04/27/2017 Order-Protective              #:1674
    Filed by MATTHEW ALHADEFF (Defendant)

    04/27/2017 Order-Protective (REGARDING CONFIDENTIAL AUDIOTAPE OF EXAMINATION; )
    Filed by Attorney for Defendant

    04/26/2017 Reply to Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    04/26/2017 Reply to Opposition (TO PLAINTIFF'S MOTION FOR FINANCIAL DISCOVERY TO SUPPORT PLAINTIFF'S
    PUNITIVE DAMAGES CLAIM DECLARATION OF DAMON ROGERS IN OPPOSITION )
    Filed by Attorney for Plaintiff

    04/24/2017 at 08:30 AM in Department M
    Unknown Event Type - Held - Motion Granted

    04/24/2017 at 08:30 AM in Department M
    Ruling on Submitted Matter (Ruling on Submitted Matter; Court Makes Order) -

    04/24/2017 at 08:30 am in Department WEM, Mitchell L. Beckloff, Presiding
    Motion to Compel (COMPLIANCE WITH COURT ORDER) - Motion Granted

    04/24/2017 at 08:30 am in Department WEM, Mitchell L. Beckloff, Presiding
    Ruling on Submitted Matter - Court Makes Order

    04/24/2017 Order Appointing Court Approved Reporter as Official Reporter Pro Tempore
    Filed by MATTHEW ALHADEFF (Defendant)

    04/24/2017 Ord-Appt Apprv Rptr as Rptr protem (NANCY K. BRINK #6501 )
    Filed by Attorney for Defendant

    04/20/2017 Opposition (TO PLAINTIFF'S MOTION FOR FINANCIAL DISCOVERY TO SUPPORT PLAINTIFF'S PUNITIVE
    DAMAGES CLAIM DECLARATION OF CHRISTINA Y. MOROVATI; (PROPOSED) ORDER )
    Filed by Attorney for Defendant

    04/20/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    Click on any of the below link(s) to see Register of Action Items on or before the date indicated:
    TOP 08/28/2017 07/06/2017 04/18/2017 02/09/2017 10/05/2016

    04/18/2017 at 08:30 AM in Department M
    (Motion to Compel; Advanced to this date & continued) -

    04/18/2017 at 08:30 AM in Department M
    Ex-Parte Proceedings - Held - Taken under Submission

    04/18/2017 at 08:30 am in Department WEM, Mitchell L. Beckloff, Presiding
    Motion to Compel (CONT. BY THE COURT TO 6/30/17) - Advanced to this date & continued

    04/18/2017 at 08:30 am in Department WEM, Mitchell L. Beckloff, Presiding
    Ex-Parte Application - Submitted

    04/18/2017 Ord-Appt Apprv Rptr as Rptr protem (JENNIFER SMITH #13577 )
    Filed by Attorney for Plaintiff

    04/18/2017 Ord-Appt Apprv Rptr as Rptr protem (NANCY K. BRINK #6501 )
    Filed by Attorney for Defendant

    04/18/2017 Order Appointing Court Approved Reporter as Official Reporter Pro Tempore
    Filed by MATTHEW ALHADEFF (Defendant)

    04/18/2017 Order Appointing Court Approved Reporter as Official Reporter Pro Tempore
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    04/17/2017 Reply to Opposition
    Filed by MATTHEW ALHADEFF (Defendant)



https://www.lacourt.org/casesummary/ui/OSCasesummary.aspx#ROA                                              36/45
2/12/2019 Case  8:18-cv-01644-VAP-KES Document 51-5           LASC - Filed
                                                                     Case Access
                                                                            02/12/19 Page 87 of 133 Page ID
    04/17/2017 Reply to Opposition (TO DEFENDANT'S MOTION TO COMPEL PLAINTIFF'S COMPLIANCE WITH COURT
                                                           #:1675
    ORDERED MENTAL EXAMINATION WITH DR. KYLE BOONE AND REQUEST FOR SANCTIONS IN THE AMOUNT OF
    $6,440.00)
    Filed by Attorney for Defendant

    04/14/2017 at 09:00 AM in Department M
    Unknown Event Type - Not Held - Advanced and Vacated

    04/11/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    04/11/2017 Notice of Motion (FOR FINANCIAL DISCOVERY )
    Filed by Attorney for Plaintiff

    04/11/2017 Reply to Opposition (TO MTN TO COMPEL )
    Filed by Attorney for Plaintiff

    04/11/2017 Declaration
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    04/11/2017 Notice of Motion
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    04/11/2017 Opposition (TO MTN TO COMPEL )
    Filed by Attorney for Plaintiff

    04/11/2017 Declaration (OF BEAU LEBLANC )
    Filed by Attorney for Plaintiff

    04/11/2017 Reply to Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    04/05/2017 Notice of Motion
    Filed by MATTHEW ALHADEFF (Defendant)

    04/05/2017 Notice of Lodging
    Filed by MATTHEW ALHADEFF (Defendant)

    04/05/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    04/05/2017 Response
    Filed by MATTHEW ALHADEFF (Defendant)

    04/05/2017 Notice of Motion (AND MOTION FOR PROTECTIVE ORDER TERMINATING DEFENDANT'S DEPOSITION OR
    IN THE ALTERNATIVE FOR APPOINTMENT OF A DISCOVERY REFEREE; REQUEST FOR SANCTIONS AGAINST
    MICHAEL J. AVENATTI AND)
    Filed by Attorney for Defendant

    04/05/2017 Notice of Lodging (OF DEPOSITION TRANSCRIPT OF MATTHEW JOSEPH ALHADEFF IN SUPPORT OF
    DEFENDANT, MATTHEW JOSEPH ALHADEFF'S OPPOSITION TO MOTION TO COMPEL DEFENDANT TO COMPLY
    WITH THE COURT'S DECEMBER 30, 2016)
    Filed by Attorney for Defendant

    04/05/2017 Opposition (TO MOTION TO COMPEL DEFENDANT TO COMPLY WITH THE COURT'S DECEMBER 30, 2016
    ORDER, FOR AND ORDER COMPELLING DEFENDANT TO COMPLETE HIS COURT-ORDERED DEPOSITION AND FOR
    AN ORDER COMPELLING ANSWERS)
    Filed by Attorney for Defendant

    04/05/2017 Response (TO SEPARATE STATEMENT OF DISPUTED ITEMS IN SUPPORT OF OPPOSITION TO MOTION TO
    COMPEL DEFENDANT TO COMPLY WITH THE COURT'S DECEMBER 30, 2016 ORDER, FOR AN ORDER COMPELLING
    DEFENDANT TO COMPLETE)
    Filed by Attorney for Defendant

    03/30/2017 Amended Notice (RE MTN TO STRIKE )
    Filed by Attorney for Defendant

    03/30/2017 Motion to Compel
    Filed by MATTHEW ALHADEFF (Defendant)
https://www.lacourt.org/casesummary/ui/OSCasesummary.aspx#ROA                                                 37/45
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                                                              02/12/19 Page 88 of 133 Page ID
    03/30/2017 Amended Notice                #:1676
    Filed by MATTHEW ALHADEFF (Defendant)

    03/30/2017 Motion to Compel (COMPLLIANCE WITH COURT ORDERED MENTAL EXAMINATION WITH DR. KYLE
    BOONE )
    Filed by Attorney for Defendant

    03/24/2017 Notice of Motion
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    03/24/2017 Statement - General (SEPARATE STATEMENT OF DISPUTED ITEMS ON MOTION TO COMPEL DEFENDANT
    MATTHEW ALHADEFF TO COMPLY WITH COURT'S DECEMBER 30, 2016 ORDER, FOR AN ORDER COMPELLING
    DEFENDANT TO COMPLETE)
    Filed by Attorney for Plaintiff

    03/24/2017 Notice of Motion (AND MOTION TO COMPEL DEFENDANT MATTHEW ALHADEFF TO COMPLY WITH THE
    COURT'S DECEMBER 30, 2016 ORDER, FOR AN ORDER COMPELLING DEFENDANT TO COMPLETE HIS COURT-
    ORDERED DEPOSITION AND FOR AN)
    Filed by Attorney for Plaintiff

    03/24/2017 Statement - General
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    03/23/2017 Motion to Strike
    Filed by MATTHEW ALHADEFF (Defendant)

    03/23/2017 Motion to Strike (PORTIONS OF FIRST AMENDED COMPLAINT )
    Filed by Attorney for Defendant

    03/13/2017 at 08:30 AM in Department M
    Ex-Parte Proceedings (Ex Parte Application; Denied) -

    03/13/2017 at 08:30 am in Department WEM, Mitchell L. Beckloff, Presiding
    Ex-Parte Application - Denied

    03/13/2017 Order Appointing Court Approved Reporter as Official Reporter Pro Tempore
    Filed by MATTHEW ALHADEFF (Defendant)

    03/13/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    03/13/2017 Ex-Parte Application
    Filed by MATTHEW ALHADEFF (Defendant)

    03/13/2017 Ord-Appt Apprv Rptr as Rptr protem (NANCY BRINK CSR 6501 )
    Filed by Attorney for Defendant

    03/13/2017 Opposition (TO DEFENDANT'S EX PARTE APPLIC,. )
    Filed by Attorney for Plaintiff

    03/13/2017 Ex-Parte Application (FOR AN ORDER TO COMPEL PLTF'S COMPLIANCE WITH COURT ORDERED MENTAL
    EXAMINATION WITH DR. KYLE BOONE; MEMO OF POINTS AND AUTH.' DECL. OF CHRISTINA V. MOROVATI AND
    DR. KYLY BOONE)
    Filed by Attorney for Defendant

    03/08/2017 Notice of Ruling
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    03/08/2017 Notice of Ruling
    Filed by Attorney for Plaintiff

    03/02/2017 First Amended Complaint (NO SUMMONS ISSUED )
    Filed by Attorney for Plaintiff

    03/02/2017 First Amended Complaint
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    03/01/2017 at 08:30 AM in Department M
    (Motion to Compel; Court Makes Order) -
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    03/01/2017 at 08:30 am in Department WEM, Mitchell L. Beckloff,#:1677
                                                                    Presiding
    Motion to Compel ((2) MOTION TO COMPEL) - Court Makes Order

    03/01/2017 Ord-Appt Apprv Rptr as Rptr protem (WIL C. WILCOX #9178 )
    Filed by Attorney for Plaintiff

    03/01/2017 Order Appointing Court Approved Reporter as Official Reporter Pro Tempore
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    03/01/2017 Order (ON PLAINTIFF'S MOTION FOR LEAVE TO FILE A FIRST AMENDED COMPLAINT; )
    Filed by Attorney for Plaintiff

    03/01/2017 Order
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    02/28/2017 at 08:30 AM in Department M
    Unknown Event Type

    02/24/2017 at 09:00 AM in Department M
    (Motion to Compel; Continued by Court) -

    02/24/2017 at 09:00 am in Department WEM, Mitchell L. Beckloff, Presiding
    Motion to Compel (FURTHER RESPONSES) - Continued by Court

    02/24/2017 Ex-Parte Application
    Filed by Attorney for Defendant

    02/24/2017 Ex-Parte Application
    Filed by MATTHEW ALHADEFF (Defendant)

    02/21/2017 Reply to Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    02/21/2017 Reply to Opposition (TO MTN FOR LEAVE TO FILE A FAC )
    Filed by Attorney for Plaintiff

    02/17/2017 at 09:00 AM in Department M
    Unknown Event Type - Not Held - Advanced and Vacated

    02/16/2017 Reply to Opposition (TO MTN TO COMPEL FURTHER RESPONSES )
    Filed by Attorney for Plaintiff

    02/16/2017 Reply to Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    02/15/2017 Opposition (TO DEFENDANT MATTHEW JOSEPH ALHADEFF'S MOTION TO COMPEL PLAINTIFF JENNIFER
    NADJAT-HAIEM'S ATTENDANCE AT DEPOSITION AND FOR MONETARY SANCTIONS; DECLARATION OF DAMON
    ROGERS IN OPPOSITION)
    Filed by Attorney for Plaintiff

    02/15/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    02/15/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    02/15/2017 Opposition (TO DEFENDANT MATTHEW JOSEPH ALHADEFF'S MOTION TO COMPEL PLAINTIFF JENNIFER
    NADJAT-HAIEM TO SUBMIT TO EXAMINATION WITH DR. KYLE BOONE, PH.D. AND REQUEST FOR SANCTIONS;
    DECLARATION OF)
    Filed by Attorney for Plaintiff

    02/14/2017 Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    02/14/2017 Opposition (TO MTN FOR LEAVE TO FILE FAC )
    Filed by Attorney for Defendant

    02/10/2017 at 08:30 AM in Department 97
    Jury Trial (Jury Trial; Transferred to different departmnt) -

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    02/10/2017 Motion to Compel (FURTHER RESPONSES ) #:1678
    Filed by Attorney for Plaintiff

    02/10/2017 Motion to Compel
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    02/10/2017 Statement - General (SEPARATE STATEMENT OF DISPUTED ITEMS )
    Filed by Attorney for Plaintiff

    02/10/2017 Statement - General
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    Click on any of the below link(s) to see Register of Action Items on or before the date indicated:
    TOP 08/28/2017 07/06/2017 04/18/2017 02/09/2017 10/05/2016

    02/09/2017 Motion to Compel
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    02/09/2017 Separate Statement of Und. Facts
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    02/09/2017 Separate Statement of Und. Facts
    Filed by Attorney for Plaintiff

    02/09/2017 Motion to Compel (RESPONSES TO REQUESTS FOR PROD. SET TWO AND FOR SANCTIONS )
    Filed by Attorney for Plaintiff

    02/02/2017 Notice of Motion (AND MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT; MEMORANDUM OF
    POINTS AND AUTHORITIES; DECLARATION OF DAMON ROGERS )
    Filed by Attorney for Plaintiff

    02/02/2017 Notice of Motion
    Filed by MATTHEW ALHADEFF (Defendant)

    02/02/2017 Notice of Motion
    Filed by MATTHEW ALHADEFF (Defendant)

    02/02/2017 Notice of Motion
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    02/02/2017 Notice of Motion (AND MOTION TO COMPEL PLAINTIFF JENNIFER NADJAT-HAIEM TO SUBMIT TO
    EXAMINATION WITH DR. KYLE BOONE, PH.D AND REQUEST FOR SANCTIONS; MEMORANDUM OF POINTS AND
    AUTHORITIES IN SUPPORT OF;)
    Filed by Attorney for Defendant

    02/02/2017 Notice of Motion (AND MOTION TO COMPEL PLAINTIFF JENNIFER NADJAT-HAIEM'S ATTENDANCE AT
    DEPOSITION AND FOR MONETARY SANCTIONS; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION
    OF CHRISTINA Y. MOROVATI; PP ORDER)
    Filed by Attorney for Defendant

    01/31/2017 Amended Notice (2ND AMENDED NTC RE MTN TO COMPEL )
    Filed by Attorney for Plaintiff

    01/31/2017 Amended Notice
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    01/23/2017 at 10:00 AM in Department 97
    Final Status Conference (Final Status Conference; Transferred to different departmnt) -

    01/18/2017 Notice (NOTICE TO DEFENDANT MATTHEW JOSEPH ALHADEFF TO APPEAR AT TRIAL 9-25-17 9:00 AM
    DEPT M )
    Filed by Attorney for Plaintiff

    01/18/2017 Notice
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    01/12/2017 at 08:30 AM in Department M
    Ex-Parte Proceedings (Ex Parte Application; Motion Denied) -


https://www.lacourt.org/casesummary/ui/OSCasesummary.aspx#ROA                                            40/45
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    01/12/2017 at 08:30 am in Department WEM, Mitchell L. Beckloff,#:1679
                                                                    Presiding
    Ex-Parte Application - Motion Denied

    01/12/2017 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    01/12/2017 Opposition
    Filed by Attorney for Plaintiff

    01/12/2017 Ex-Parte Application
    Filed by MATTHEW ALHADEFF (Defendant)

    01/12/2017 Ex-Parte Application
    Filed by Attorney for Defendant

    12/30/2016 at 09:00 AM in Department M
    Unknown Event Type - Held - Motion Granted

    12/30/2016 at 09:00 am in Department WEM, Mitchell L. Beckloff, Presiding
    Motion to Compel (AND MOTION FOR PROTECTIVE ORDER;) - Motion Granted

    12/30/2016 Order Appointing Court Approved Reporter as Official Reporter Pro Tempore
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    12/30/2016 Ord-Appt Apprv Rptr as Rptr protem (CHERI BULLOCK #4714 )
    Filed by Attorney for Plaintiff

    12/21/2016 Reply to Opposition
    Filed by MATTHEW ALHADEFF (Defendant)

    12/21/2016 Reply to Opposition (TO MTN FOR PROTECTIVE ORDER )
    Filed by Attorney for Defendant

    12/14/2016 Notice of Ruling
    Filed by Attorney for Plaintiff

    12/14/2016 Notice of Ruling
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    12/13/2016 at 08:30 AM in Department M
    Case Management Conference (Conference-Case Management; Trial Set) -

    12/13/2016 at 08:30 am in Department WEM, Mitchell L. Beckloff, Presiding
    Conference-Case Management (AND MOTION TO COMPEL;) - Trial Set

    12/13/2016 Ord-Appt Apprv Rptr as Rptr protem (JENNY ROSENSTEIN #3160 )
    Filed by Attorney for Defendant

    12/13/2016 Order Appointing Court Approved Reporter as Official Reporter Pro Tempore
    Filed by MATTHEW ALHADEFF (Defendant)

    12/09/2016 at 08:30 AM in Department M
    (Motion to Compel; Advanced to this date & continued) -

    12/09/2016 at 08:30 am in Department WEM, Mitchell L. Beckloff, Presiding
    Motion to Compel (DEFENDANT TO COMPLY WITHDEPOSITION NOTICE AND SANCTIONSCONTINUED TO 12/13/16) -
    Advanced to this date & continued

    12/08/2016 NOTICE OF CONTINUANCE
    Filed by Attorney for Plaintiff

    12/08/2016 Notice Re: Continuance of Hearing and Order
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    12/06/2016 Reply (IN SUPPORT OF MOTION TO COMPEL PLAINTIFF JENNIFER NADJATHAIEM TO SUBMIT TO
    INDEPENDENT MEDICAL EXAMINATIONS )
    Filed by Attorney for Defendant



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    12/06/2016 Reply                         #:1680
    Filed by MATTHEW ALHADEFF (Defendant)

    11/29/2016 Opposition (TO MTN TO COMPEL )
    Filed by Attorney for Plaintiff

    11/29/2016 Opposition
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    11/28/2016 Statement-Case Management
    Filed by Attorney for Plaintiff

    11/28/2016 Case Management Statement
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    11/28/2016 Case Management Statement
    Filed by MATTHEW ALHADEFF (Defendant)

    11/28/2016 Statement-Case Management
    Filed by Attorney for Defendant

    11/22/2016 at 10:00 AM in Department 97
    Hearing on Motion to Compel Further Discovery Responses (MOTION - COMPEL FURTHER RESPONSES; Transferred to
    different departmnt) -

    11/22/2016 Amended Notice (OF MOTION REGARDING PLAINTIFF JENNIFER NADJAT-HAIEM'S MOTION TO COMPEL
    FURTHER RESPONSES FROM DEFENDANT MATTHEW JOSEPH ALHADEFF TO PLAINTIFF'S REQUEST FOR
    PRODUCTION (SET ONE) AND FOR SANCT)
    Filed by Attorney for Plaintiff

    11/22/2016 Amended Notice (OF MOTION REGARDING PLAINTIFF JENNIFER NADJAT-HAIEM'S MOTION TO COMPEL
    DEFENDANT MATTHEW JOSEPH ALHADEFF TO PROVIDE FURTHER RESPONSES TO PLAINTIFF'S FORM
    INTERROGATORIES (SET ONE) AND SANC)
    Filed by Attorney for Plaintiff

    11/22/2016 Amended Notice
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    11/22/2016 Amended Notice
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    11/18/2016 at 09:00 AM in Department M
    Ex-Parte Proceedings (Ex Parte Application; Motion Denied) -

    11/18/2016 at 09:00 am in Department WEM, Mitchell L. Beckloff, Presiding
    Ex-Parte Application - Motion Denied

    11/18/2016 Notice of Ruling
    Filed by Attorney for Plaintiff

    11/18/2016 Ex-Parte Application
    Filed by Attorney for Plaintiff

    11/18/2016 Notice (NOTICE OF RESCHEDULING HEARING OF MOTION FOR PROTECTIVE ORDER 4-14-17 9:00 AM
    DEPT M )
    Filed by Attorney for Defendant

    11/18/2016 Notice
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    11/18/2016 Notice of Ruling
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    11/18/2016 Ex-Parte Application
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    11/15/2016 Motion to Compel
    Filed by MATTHEW ALHADEFF (Defendant)


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    11/15/2016 Motion to Compel (PLAINTIFF JENNIFER NADJAT-HAIEM
                                                           #:1681TO SUBMIT TO MULTIPLE INDEPENDENT
    MEDICAL EXAMINATIONS INCLUDING A NEUROLOFY EXAMINATION AND A NEUROPHYCHOLOGICAL
    EXAMINATION; )
    Filed by Attorney for Defendant

    11/15/2016 Motion to Compel
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    11/15/2016 Motion to Compel
    Filed by Attorney for Plaintiff

    11/09/2016 Notice
    Filed by Clerk

    11/09/2016 Notice
    Filed by Clerk

    11/09/2016 Notice (NOTICE OF TRANSFER OF ACTION )
    Filed by Clerk

    10/17/2016 at 1:30 PM in Department 97
    Hearing on Motion for Protective Order (Motion for Protective Order; Transferred to different departmnt) -

    Click on any of the below link(s) to see Register of Action Items on or before the date indicated:
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    10/05/2016 at 1:30 PM in Department 97
    Hearing on Motion to Compel Deposition (MOTION - COMPEL DEPOSITION; Transferred to different departmnt) -

    10/05/2016 Order
    Filed by Court

    10/05/2016 ORDER TRANSFERRING COMPLICATED PERSONAL INJURY (PI) CASE TO AN INDEPENDENT
    CALENDAR (IC) COURT

    10/05/2016 NOTICE OF RULING ON PLAINTIFF'S MOTION TO COMPEL DEFENDANT MATTHEW JOSEPH ALHADEFF
    TO COMPLY WITH DEPOSITION NOTICE AND FOR SANCTIONS AGAINST DEFENDANT MATTHEW JOSEPH
    ALHADEFF IN THE AMOUNT OF $3260

    10/05/2016 Notice of Ruling
    Filed by Plaintiff/Petitioner

    10/05/2016 Minute Order

    10/03/2016 Opposition Document
    Filed by Plaintiff/Petitioner

    10/03/2016 Objection
    Filed by Plaintiff/Petitioner

    10/03/2016 PLAINTIFF'S EVIDENTIARY OBJECTIONS TO THE DECLARATION OF CHRISTINE V. MOROVATI
    ATTACHED TO DEFENDANT'S MOTION FOR PROTECTIVE ORDER

    10/03/2016 PLAINTIFF'S OPPOSITION TO DEFENDANT MATTHEW JOSEPH ALHADEFF'S MOTION FOR PROTECTIVE
    ORDER; DECLARATION OF DAMON ROGERS IN OPPOSITION

    09/28/2016 Reply to Opposition
    Filed by Plaintiff/Petitioner

    09/28/2016 PLAINTIFF'S REPLY TO DEFENDANT MATTHEW JOSEPH ALHADEFF'S OPPOSITION TO PLAINTIFF'S
    MOTION TO COMPEL DEFENDANT TO COMPLY WITH DEPOSITION NOTICE AND FOR SANCTIONS AGAINST
    DEFENDANT IN THE AMOUNT OF $3,260

    09/22/2016 Opposition Document
    Filed by Matthew Joseph Alhadeff (Defendant)

    09/22/2016 OPPOSITION TO PLAINTIFF, JENNIFER NADJAT-HAIEM'S, MOTION TO COMPEL THE DEPOSITION OF
    DEFENDANT, MATTHEW ALHADEFF; ETC.


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    09/19/2016 at 10:30 AM in Department 97  #:1682
    Informal Discovery Conference (IDC) (Informal Discovery Conference-PI; Not Resolved-PI) -

    09/19/2016 Informal Discovery Conference Form for Personal Injury Courts
    Filed by Plaintiff/Petitioner

    09/12/2016 Notice of Motion
    Filed by Matthew Joseph Alhadeff (Defendant)

    09/12/2016 NOTICE OF MOTION AND MOTION FOR PROTECTIVE ORDER;ETC.

    09/07/2016 Motion to Compel
    Filed by Plaintiff/Petitioner

    09/07/2016 NOTICE OF MOTION AND MOTION TO COMPEL DEFENDANT MATTHEW JOSEPH ALHADEFF TO
    COMPLY WITH DEPOSITION NOTICE AND ETC.

    08/31/2016 NOTICE OF ASSOCIATION OF COUNSEL

    08/31/2016 PLAINTIFF JENNIFER NADJATHAIEM'S SEPARATE STATEMENT OF DISPUTED ITEMS ON MOTION TO
    COMPEL FURTHER RESPONSES FROM DEFENDANT MATTHEW JOSEPH ALHADEFF TO REQUESTS FOR
    PRODUCTION (SET ONE) AND FOR SANCTIONS IN THE AMOUNT OF $3,260.00 AGAINST DEFENDANT MATTHEW

    08/31/2016 PLAINTIFF JENNIFER NADJATHAJEM'S NOTICE OF MOTION AND MOTION TO COMPEL DEFENDANT
    MATTHEW JOSEPH ALHADEFF TO PROVIDE FURTHER RESPONSES TO PLAINTIFF'S FORM INTERROGATORIES
    (SET ONE) AND FOR SANCTIONS IN THE AMOUNT OF $4,660.00 AGAINST DEFENDANT MATTHEW JOSE

    08/31/2016 Statement of Facts
    Filed by Michael J. Esq. Avenatti (Attorney)

    08/31/2016 Motion to Compel
    Filed by Plaintiff/Petitioner

    08/31/2016 PLAINTIFF JENNIFER NADJATHAIEM'S NOTICE OF MOTION AND MOTION TO COMPEL FURTHER
    RESPONSES FROM DEFENDANT MATTHEW JOSEPH ALHADEFF TO PLAINTIFF'S REQUESTS FOR PRODUCTION
    (SET ONE) AND FOR SANCTIONS IN THE AMOUNT OF $3.260.OO AGAINST DEFENDANT MATTHEW JOSEPH

    08/31/2016 Statement of Facts
    Filed by Plaintiff/Petitioner

    08/31/2016 PLAINTIFF JENNIFER NADJAT-HAIEM'S SEPARATE STATEMENT OF DISPUTED ITEMS ON MOTION TO
    COMPEL DEFENDANT ETC.

    08/31/2016 Association of Attorney
    Filed by Matthew Joseph Alhadeff (Defendant)

    08/19/2016 INFORMAL DISCOVERY CONFERENCE FORM FOR PERSONAL INJURY COURTS (DEPARTMENT 91, 92, 93,
    97)

    08/16/2016 Substitution of Attorney
    Filed by Plaintiff/Petitioner

    08/16/2016 SUBSTITUTION OF ATTORNEY

    04/28/2016 DEFENDANT MATTHEW ALHADEFF'S ANSWER TO COMPLAINT

    04/28/2016 Answer
    Filed by Matthew Joseph Alhadeff (Defendant)

    04/15/2016 Receipt
    Filed by Plaintiff/Petitioner

    04/15/2016 CIVIL DEPOSIT

    04/13/2016 Notice
    Filed by Plaintiff/Petitioner

    04/11/2016 NOTICE OF ACKNOWLEDGEMENT OF RECEIPT - CIVIL


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    01/20/2016 Motion                        #:1683
    Filed by MATTHEW ALHADEFF (Defendant)

    01/20/2016 Motion (FOR PROTECTIVE ORDER )
    Filed by Attorney for Defendant

    12/09/2015 NOTICE OF REJECTION APPLICATION AND ORDER FOR PUBLICATION

    12/04/2015 Application for Order to Publish
    Filed by Plaintiff/Petitioner

    12/04/2015 APPLICATION FOR PUBLICATION

    08/10/2015 SUMMONS

    08/10/2015 Complaint
    Filed by JENNIFER NADJAT-HAIEM (Plaintiff)

    08/10/2015 Complaint Filed

    08/10/2015 COMPLAINT FOR DAMAGES: I. NEGLIGENCE

    Click on any of the below link(s) to see Register of Action Items on or before the date indicated:
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                                    Exhibit 51
               Case 8:18-cv-01644-VAP-KES Document 51-5 Filed 02/12/19 Page 97 of 133 Page ID
                                                 #:1685                   Statement of Accounts
                                                                                                                                                Page 1 of 5
                                                                                                                                                This Statement: September 29, 2017
                                                                                                                                                Last Statement: September 18, 2017

                                                                                                                                                Account             3714



                                                                                                                                                DIRECT INQUIRIES TO:
                                                                                                                                                Customer Service 1 (800) 400-6080
            0053034                                    4273-06-0000-CBT-PG0023-00002


            STATE BAR OF CALIFORNIA
            EAGAN AVENATTI, LLP
            ATTORNEY CLIENT TRUST ACCOUNT
            520 NEWPORT CENTER DR STE 1400
            NEWPORT BEACH CA 92660-7034



                                                                                                                                                Irvine Branch
                                                                                                                                                1900 Main St. Suite 100
                                                                                                                                                Irvine, CA 92614-0000
                                                                                                                                                (949) 223-7500




             SUMMARY OF ACCOUNT BALANCE
                                                                                                                               Checking/Savings                       Outstanding
             Account Type                                                      Account Number                                    Ending Balance                    Balances Owed
             Attorney Client Trust                                                  3714                                           $2,240,935.13



             ATTORNEY CLIENT TRUST 5794183714                                                                                                                                                 220     2



             Previous Balance                                       Deposits/Credits                    Charges/Debits                    Checks Processed                          Ending Balance
             0.00                                                      5,500,176.41                       2,850,000.00                          409,241.28                            2,240,935.13

            ...........................................................................................................................................................................................
            2 DEPOSITS/CREDITS
            Date                       Amount                  Description
            09/20                 5,500,000.00                 DEPOSIT 5353016350
            09/29                       176.41                 INTEREST PAYMENT 0344327906

            ...........................................................................................................................................................................................
            1 CHARGE/DEBIT
            Date                       Amount                 Description
            09/29                 2,850,000.00                WIRE/OUT-2017092900003401;BNF Jennifer Nadjat-Haiem 1304401106

            ...........................................................................................................................................................................................
            1 CHECK PROCESSED
            Number..............Date............................Amount
            105                  09/22                  409,241.28
            ..........................................................................................................................................................................................

            AGGREGATE OVERDRAFT AND RETURNED ITEM FEES

                                                               Total for This Period                      Total Year-to-Date
            Total Overdraft Fees                                               $0.00                                   $0.00
            Total Returned Item Fees                                           $0.00                                   $0.00

            To learn more about our other products and services that may lower the cost of managing account
            overdrafts or to discuss removing overdraft coverage from your account, please contact Customer
            Service or visit your local branch.

            ..........................................................................................................................................................................................
            DAILY BALANCES
            Date..........................Balance                                      Date..........................Balance                                      Date..........................Balance
            09/20               5,500,000.00                                           09/22               5,090,758.72                                           09/29               2,240,935.13




A division of ZB, N.A. Member FDIC                                                                                                                                    0053034-0000001-0127551
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                                                                                                                           STATE BAR OF CALIFORNIA
                                                                                                                                3714




           ...........................................................................................................................................................................................
           INTEREST
           Interest Earned This Interest Period                                       $176.41                              Number Of Days This Interest Period                                    11
           Interest Paid Year-To-Date 2017                                            $176.41                              Annual Percentage Yield Earned                                    0.17%

           Current interest rate is 0.170%

           Interest rate changes this interest period:                      Date               New Interest Rate
                                                                            09/19                        0.170%




A division of ZB, N.A. Member FDIC                                                                                                                                   0053034-0000002-0127552
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                                                #:1692                   Statement of Accounts
                                                                                                                                                Page 1 of 5
                                                                                                                                                This Statement: October 31, 2017
                                                                                                                                                Last Statement: September 29, 2017

                                                                                                                                                Account             3714



                                                                                                                                                DIRECT INQUIRIES TO:
                                                                                                                                                Customer Service 1 (800) 400-6080
            0044233                                  4305-06-1000-CBT-PG0023-00002


            STATE BAR OF CALIFORNIA
            EAGAN AVENATTI, LLP
            ATTORNEY CLIENT TRUST ACCOUNT
            520 NEWPORT CENTER DR STE 1400
            NEWPORT BEACH CA 92660-7020



                                                                                                                                                Irvine Branch
                                                                                                                                                1900 Main St. Suite 100
                                                                                                                                                Irvine, CA 92614-0000
                                                                                                                                                (949) 223-7500




                  IMPORTANT INFORMATION ABOUT YOUR ACCOUNT

                  We have amended and completely rewritten our Deposit Account Agreement. We will soon mail you a copy, but
                  you can also access it in the Agreement Center at www.calbanktrust.com. The new Agreement will become
                  effective 30 days after our upcoming mailing. (If you have our eNotice service, we will send electronic notice
                  rather than mail.) If you have any questions, please call customer service at (800) 400-6080.


             SUMMARY OF ACCOUNT BALANCE
                                                                                                                          Checking/Savings                            Outstanding
             Account Type                                                      Account Number                               Ending Balance                         Balances Owed
             Attorney Client Trust                                                  3714                                       $814,980.69



             ATTORNEY CLIENT TRUST 5794183714                                                                                                                                                220     2



             Previous Balance                                     Deposits/Credits                      Charges/Debits                    Checks Processed                         Ending Balance
             2,240,935.13                                             200,250.90                          1,626,205.34                                0.00                             814,980.69

            ...........................................................................................................................................................................................
            3 DEPOSITS/CREDITS
            Date                      Amount                 Description
            10/11                  100,000.00                DEPOSIT 5353092398
            10/18                  100,000.00                DEPOSIT 5353019669
            10/31                      250.90                INTEREST PAYMENT 0168339536

            ...........................................................................................................................................................................................
            10 CHARGES/DEBITS
            Date                      Amount                 Description
            09/29                      176.41                INTEREST TRANSFER 0100072101
            10/04                   95,000.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000008621 2308401225
            10/05                   27,000.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000008966 2308200877
            10/10                   50,000.00                WIRE/OUT-2017101000003335;BNF The Escrow Connection;REF 4153 1305001058
            10/10                  580,000.00                WIRE/OUT-2017101000006251;BNF Michael J. Avenatti 1305001850
            10/13                   80,000.00                WIRE/OUT-2017101300003109;BNF Coblentz Patch Duffy & Bass;RE 1304602153
            10/25                  228,766.38                WIRE/OUT-2017102500002218;BNF Jennifer Nadjat-Haiem 1304000612
            10/31                  301,602.30                WIRE/OUT-2017103100008158;BNF OSBORN MACHLER TRUST ACCOUNT 1304201959
            10/31                  121,468.74                WIRE/OUT-2017103100007949;BNF GLOBAL BARISTAS US LLC;OBI 461 1304201899
            10/31                  142,191.51                WIRE/OUT-2017103100007948;BNF GLOBAL BARISTAS US LLC;OBI 461 1304201897

            ...........................................................................................................................................................................................
            0 CHECKS PROCESSED
            There were no transactions this period.




A division of ZB, N.A. Member FDIC                                                                                                                                    0044233-0000001-0139563
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                                                                                                                              STATE BAR OF CALIFORNIA
                                                                                                                                   3714




           ..........................................................................................................................................................................................

           AGGREGATE OVERDRAFT AND RETURNED ITEM FEES

                                                             Total for This Period                       Total Year-to-Date
           Total Overdraft Fees                                              $0.00                                    $0.00
           Total Returned Item Fees                                          $0.00                                    $0.00

           To learn more about our other products and services that may lower the cost of managing account
           overdrafts or to discuss removing overdraft coverage from your account, please contact Customer
           Service or visit your local branch.

           ..........................................................................................................................................................................................
           DAILY BALANCES
           Date..........................Balance                                      Date..........................Balance                                      Date..........................Balance
           09/29               2,240,758.72                                           10/10               1,488,758.72                                           10/18               1,608,758.72
           10/04               2,145,758.72                                           10/11               1,588,758.72                                           10/25               1,379,992.34
           10/05               2,118,758.72                                           10/13               1,508,758.72                                           10/31                 814,980.69


           ...........................................................................................................................................................................................
           INTEREST
           Interest Earned This Interest Period                                       $250.90                                 Number Of Days This Interest Period                                  32
           Interest Paid Year-To-Date 2017                                            $427.31                                 Annual Percentage Yield Earned                                  0.17%

           Current interest rate is 0.170% with no rate change this interest period




A division of ZB, N.A. Member FDIC                                                                                                                                   0044233-0000002-0139564
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                                                                                                                                                This Statement: November 30, 2017
                                                                                                                                                Last Statement: October 31, 2017

                                                                                                                                                Account             3714



                                                                                                                                                DIRECT INQUIRIES TO:
                                                                                                                                                Customer Service 1 (800) 400-6080
            0044329                                    4335-06-1000-CBT-PG0023-00002


            STATE BAR OF CALIFORNIA
            EAGAN AVENATTI, LLP
            ATTORNEY CLIENT TRUST ACCOUNT
            520 NEWPORT CENTER DR STE 1400
            NEWPORT BEACH CA 92660-7020



                                                                                                                                                Irvine Branch
                                                                                                                                                1900 Main St. Suite 100
                                                                                                                                                Irvine, CA 92614-0000
                                                                                                                                                (949) 223-7500




             SUMMARY OF ACCOUNT BALANCE
                                                                                                                          Checking/Savings                            Outstanding
             Account Type                                                      Account Number                               Ending Balance                         Balances Owed
             Attorney Client Trust                                                  3714                                       $423,743.41



             ATTORNEY CLIENT TRUST 5794183714                                                                                                                                                220     2



             Previous Balance                                       Deposits/Credits                    Charges/Debits                    Checks Processed                         Ending Balance
             814,980.69                                                       92.66                        321,129.94                             70,200.00                            423,743.41

            ...........................................................................................................................................................................................
            1 DEPOSIT/CREDIT
            Date                        Amount                 Description
            11/30                        92.66                 INTEREST PAYMENT 0066317511

            ...........................................................................................................................................................................................
            12 CHARGES/DEBITS
            Date                       Amount                 Description
            10/31                       250.90                INTEREST TRANSFER 0100072101
            11/10                    25,000.00                WIRE/OUT-2017111000002977;BNF Biloxi Freezing & Processing 1304600804
            11/13                    18,171.27                WIRE/OUT-2017111300006071;BNF Alki Bakery Inc 1304401264
            11/13                    31,737.15                WIRE/OUT-2017111300006072;BNF Dillanos Coffee Roasters 1304401266
            11/14                     2,500.00                WIRE/OUT-2017111400005316;BNF Humberto R. Gray, APLC;REF Inv 1304301410
            11/14                    40,000.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000000815 2308100651
            11/17                    23,470.62                DEBIT MEMO 5353035696
            11/20                    30,000.00                WIRE/OUT-2017112000005602;BNF James R. Gailey & Associates P 1305801531
            11/21                    40,000.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000007277 2307901917
            11/24                    11,000.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000008467 2307400029
            11/29                    43,000.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000004591 2307700951
            11/30                    56,000.00                ONLINE XFER TO DDA GLOBAL BARIS ID: 000006742 2307900907

            ...........................................................................................................................................................................................
            1 CHECK PROCESSED
            Number..............Date............................Amount
            0                   11/15                    70,200.00
            ..........................................................................................................................................................................................

            AGGREGATE OVERDRAFT AND RETURNED ITEM FEES

                                                               Total for This Period                      Total Year-to-Date
            Total Overdraft Fees                                               $0.00                                   $0.00
            Total Returned Item Fees                                           $0.00                                   $0.00

            To learn more about our other products and services that may lower the cost of managing account
            overdrafts or to discuss removing overdraft coverage from your account, please contact Customer
            Service or visit your local branch.




A division of ZB, N.A. Member FDIC                                                                                                                                    0044329-0000001-0117929
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                                                                                                                              STATE BAR OF CALIFORNIA
                                                                                                                                   3714




           ..........................................................................................................................................................................................
           DAILY BALANCES
           Date..........................Balance                                      Date..........................Balance                                      Date..........................Balance
           10/31                 814,729.79                                           11/15                 627,121.37                                           11/24                 522,650.75
           11/10                 789,729.79                                           11/17                 603,650.75                                           11/29                 479,650.75
           11/13                 739,821.37                                           11/20                 573,650.75                                           11/30                 423,743.41
           11/14                 697,321.37                                           11/21                 533,650.75


           ...........................................................................................................................................................................................
           INTEREST
           Interest Earned This Interest Period                                        $92.66                                 Number Of Days This Interest Period                                  30
           Interest Paid Year-To-Date 2017                                            $519.97                                 Annual Percentage Yield Earned                                  0.17%

           Current interest rate is 0.170% with no rate change this interest period




A division of ZB, N.A. Member FDIC                                                                                                                                   0044329-0000002-0117930
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                                     Exhibit 56
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